               Case 19-10702-MFW               Doc 200       Filed 05/07/19        Page 1 of 61



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
SOUTHCROSS ENERGY PARTNERS, L.P., et al.,                         )   Case No. 19-10702 (MFW)
                                                                  )
                                   Debtors.1                      )   (Jointly Administered)
                                                                  )   RE: D.I. 14 & 59

       FINAL ORDER, PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506,
            AND 507, (I) AUTHORIZING THE DEBTORS TO OBTAIN SENIOR
      SECURED SUPERPRIORITY POST-PETITION FINANCING, (II) GRANTING
         LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
       (III) AUTHORIZING THE USE OF CASH COLLATERAL, (IV) GRANTING
        ADEQUATE PROTECTION, (V) MODIFYING THE AUTOMATIC STAY,
                         AND (VI) GRANTING RELATED RELIEF


          Upon the motion (the “Motion”)2 of Southcross Energy Partners, L.P. (“Southcross” or

the “Borrower”), Southcross Energy Partners GP, LLC (“Southcross GP”), and Southcross’s

direct and indirect subsidiaries, each of which is a debtor and debtor in possession (collectively,

the “Debtors”) in the above-captioned cases (the “Chapter 11 Cases”), pursuant to sections

105, 361, 362, 363(b), 363(c)(2), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 364(e), 503, 506(c),

and 507 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy


          1
          The debtors and debtors in possession in these Chapter 11 Cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southcross Energy Partners, L.P. (5230); Southcross
Energy Partners GP, LLC (5141); Southcross Energy Finance Corp. (2225); Southcross Energy Operating, LLC
(9605); Southcross Energy GP LLC (4246); Southcross Energy LP LLC (4304); Southcross Gathering Ltd. (7233);
Southcross CCNG Gathering Ltd. (9553); Southcross CCNG Transmission Ltd. (4531); Southcross Marketing
Company Ltd. (3313); Southcross NGL Pipeline Ltd. (3214); Southcross Midstream Services, L.P. (5932);
Southcross Mississippi Industrial Gas Sales, L.P. (7519); Southcross Mississippi Pipeline, L.P. (7499); Southcross
Gulf Coast Transmission Ltd. (0546); Southcross Mississippi Gathering, L.P. (2994); Southcross Delta Pipeline
LLC (6804); Southcross Alabama Pipeline LLC (7180); Southcross Nueces Pipelines LLC (7034); Southcross
Processing LLC (0672); FL Rich Gas Services GP, LLC (5172); FL Rich Gas Services, LP (0219); FL Rich Gas
Utility GP, LLC (3280); FL Rich Gas Utility, LP (3644); Southcross Transmission, LP (6432); T2 EF Cogeneration
Holdings LLC (0613); and T2 EF Cogeneration LLC (4976). The debtors’ mailing address is 1717 Main Street,
Suite 5300, Dallas, TX 75201.
          2
           Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms
further below in this Final Order, the Interim Order, the DIP Documents, or the Motion, as applicable.



#91937572v14
               Case 19-10702-MFW        Doc 200      Filed 05/07/19     Page 2 of 61



Code”), Rules 2002, 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”), for entry of an

interim order and a final order (this “Final Order”), among other things:

                (i)    authorizing the Borrower to obtain, and the Borrower’s Debtor
                       subsidiaries (collectively, in their capacity as such, the “Guarantors” and,
                       together with the Borrower, the “Loan Parties”) to guaranty, debtor-in-
                       possession credit financing in an aggregate principal amount of up to $255
                       million (the “DIP Financing”) to be funded by certain of the Prepetition
                       Term Lenders (in their capacity as lenders under the DIP Facilities, the
                       “DIP Lenders”) under a secured term loan and letter of credit facility (the
                       “DIP Facility”), and pursuant to the terms and conditions of the Interim
                       Order, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, and
                       507, (I) Authorizing the Debtors to Obtain Senior Secured Superpriority
                       Post-Petition Financing, (II) Granting Liens and Superpriority
                       Administrative Expense Claims, (III) Authorizing the Use of Cash
                       Collateral, (IV) Granting Adequate Protection, (V) Modifying the
                       Automatic Stay, (VI) Scheduling Final Hearing, and (VII) Granting
                       Related Relief entered on April 2, 2019 [D.I. 59] (the “Interim Order”),
                       consisting of (A) new money term loans (the “DIP Term Loans”)) in an
                       aggregate principal amount of up to $72.5 million, (B) letter of credit term
                       loans (the “DIP LC Loans”) in an aggregate principal amount of up to
                       $55 million, the proceeds of which were all used to cash collateralize
                       letters issued (or deemed issued) under a letter of credit sub-facility in an
                       aggregate principal amount of up to $55 million (the “DIP L/C Sub-
                       Facility”), and (C) roll-up term loans (the “DIP Roll-Up Loans” and,
                       together with the DIP Term Loans and the DIP LC Loans, the “DIP
                       Loans”), which shall be subject and subordinate to the DIP Term Loans
                       and DIP LC Loans, to refinance dollar-for-dollar Prepetition Term Loans
                       held by the DIP Lenders in the aggregate amount of $127.5 million;

                (ii)   authorizing the Loan Parties, in connection with the DIP Facility, to
                       (A) execute and enter into the Superpriority Secured Debtor-in-Possession
                       Credit Agreement, among the Loan Parties, the DIP Lenders, certain
                       Prepetition Revolving Lenders, as issuers of DIP Letters of Credit (the
                       “DIP L/C Issuers”), and Wilmington Trust, National Association, as
                       administrative and collateral agent (collectively, solely in such capacities,
                       the “DIP Agent” and, together with the DIP Lenders, the “DIP Secured
                       Parties”), substantially in the form attached as Exhibit A to the Interim
                       Order (as amended, supplemented, or otherwise modified from time to
                       time in accordance with the terms hereof and thereof, the “DIP Credit
                       Agreement” and, together with the schedules and exhibits attached thereto
                       and all agreements, documents, instruments, and amendments executed

                                                 2
#91937572v14
               Case 19-10702-MFW         Doc 200      Filed 05/07/19    Page 3 of 61



                        and delivered in connection therewith, including the Approved Budget
                        (including any permitted variances), the “DIP Documents”) and (B) to
                        perform all such other and further acts as may be required in connection
                        with the DIP Documents;

                (iii)   granting to the DIP Agent, for the benefit of the DIP Lenders, valid,
                        enforceable, non-avoidable, and automatically and fully perfected liens
                        and security interests, subject only to the Carve-Out and the Permitted
                        Senior Liens, to secure the DIP Obligations, which liens and security
                        interests shall have the rankings and priorities set forth herein;

                (iv)    granting superpriority administrative claims to the DIP Secured Parties
                        payable from, and having recourse to, all prepetition and post-petition
                        property of the Loan Parties’ estates and all proceeds thereof (other than
                        Avoidance Actions, but including Avoidance Proceeds), subject to the
                        Carve-Out and the Permitted Senior Liens;

                (v)     authorizing the Loan Parties (A) upon entry of the Interim Order, to incur
                        in a single draw on the Closing Date, DIP Term Loans in an aggregate
                        principal amount of up to $30 million (the “Initial DIP Term Loans”)
                        and DIP LC Loans in an aggregate principal amount of up to $55 million
                        (the incurrence of such loans upon entry of the Interim Order, the
                        “Interim Financing”) and (B) to incur in a single draw on or within 30
                        days after the entry of this Final Order, DIP Term Loans in an aggregate
                        principal amount of $42.5 million (the “Delayed Draw DIP Loans”), in
                        each case subject to the terms and conditions set forth in the DIP
                        Documents, the Interim Order, and this Final Order;

                (vi)    authorizing the Debtors (A) upon entry of the Interim Order, to use
                        proceeds of the DIP LC Loans to cash collateralize (in the amount of
                        103% of the face amount) the DIP Letters of Credit and to deem the
                        Prepetition Letters of Credit to be cancelled and reissued under the DIP
                        L/C Sub-Facility (the “Prepetition L/C Refinancing”) and (B) to use the
                        DIP Roll-Up Loans to refinance and discharge dollar-for-dollar Prepetition
                        Term Loans held by the DIP Lenders in the aggregate amount of $127.5
                        million (the “Prepetition Term Loan Refinancing” and, together with
                        the Prepetition L/C Refinancing, the “Prepetition Debt Refinancing”), in
                        each case subject to the terms and conditions set forth in the DIP
                        Documents, the Interim Order, and this Final Order;

                (vii)   authorizing the Debtors’ use of the proceeds of the DIP Facility pursuant
                        to the DIP Credit Agreement and other the DIP Documents, including the
                        Approved Budget (subject to permitted variances);

                (viii) authorizing the Debtors to continue to use the Cash Collateral (subject to
                       the Approved Budget and permitted variances thereunder) and all other
                       Prepetition Collateral, and the granting of the Adequate Protection


                                                  3
#91937572v14
               Case 19-10702-MFW          Doc 200      Filed 05/07/19     Page 4 of 61



                       Obligations to the Prepetition Secured Parties with respect to, inter alia,
                       such use of their Cash Collateral to the extent of diminution in the value of
                       the Prepetition Collateral (including Cash Collateral);

                (ix)   approving certain stipulations by the Debtors with respect to the
                       Prepetition Loan Documents and the Prepetition Collateral as set forth in
                       the Interim Order and herein;

                (x)    modifying the automatic stay as set forth in the Interim Order, herein, and
                       in the DIP Documents, to the extent necessary, to implement and
                       effectuate the foregoing and the other terms and provisions of the DIP
                       Documents, the Interim Order, and this Final Order; and

the Court having jurisdiction to consider the matters raised in the Motion pursuant to 28 U.S.C.

§ 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and the Court having authority to hear the

matters raised in the Motion pursuant to 28 U.S.C. § 157; and venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and consideration of the Motion and the

requested relief being a core proceeding that the Court can determine pursuant to 28 U.S.C.

§ 157(b)(2); and due and proper notice of the Motion and opportunity for a hearing on the

Motion having been given to the parties listed therein, and it appearing that no other or further

notice need be provided; and the Court having reviewed and considered the Motion, the D’Souza

Declaration, and the Howe Declaration; and the Court having held an interim hearing on the

Motion on April 2, 2019 (the “Interim Hearing”) and a final hearing on the Motion having been

scheduled and noticed for May 7, 2019 (the “Final Hearing”); and the Court having determined

that the legal and factual bases set forth in the Motion, the D’Souza Declaration, and the Howe

Declaration and at the Interim Hearing and Final Hearing establish just cause for the relief

granted herein; and all objections, if any, to the relief requested in the Motion for the entry of this

Final Order having been withdrawn, resolved, or overruled by the Court; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors, their creditors,


                                                   4
#91937572v14
               Case 19-10702-MFW                Doc 200        Filed 05/07/19         Page 5 of 61



their estates, and all other parties in interest; and the Court having determined that the relief

requested in the Motion is necessary to avoid irreparable harm to the Debtors and their estates;

and upon all of the proceedings had before the Court; and after due deliberation and sufficient

cause appearing therefor;

          THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW:3

          A.      Petition Date. On April 1, 2019 (the “Petition Date”), each of the Debtors filed a

separate voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United

States Bankruptcy Court for the District of Delaware (this “Court”) commencing the Chapter 11

Cases.

          B.      Debtors in Possession. The Debtors have continued in the management and

operation of their businesses and properties as debtors in possession pursuant to sections 1107

and 1108 of the Bankruptcy Code.

          C.      Joint Administration. The Chapter 11 Cases are being jointly administered

pursuant to Bankruptcy Rule 1015(b) and the Order Directing Joint Administration of Chapter

11 Cases [D.I. 48] entered by the Court on April 2, 2019, in each of the Chapter 11 Cases.

          D.      Interim Order. On April 2, 2019, the Court entered the Interim Order [D.I. 59].

          E.      Committee Formation. As of the date hereof, the Office of the United States

Trustee for the District of Delaware (the “U.S. Trustee”) has not appointed an official committee

in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code (if appointed, a

“Committee”).


          3
           The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of
law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To
the extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
extent any of the following conclusions of law constitute findings of fact, they are adopted as such.


                                                          5
#91937572v14
               Case 19-10702-MFW         Doc 200      Filed 05/07/19      Page 6 of 61



          F.    Jurisdiction and Venue. The Court has core jurisdiction over the Motion pursuant

to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2) and, pursuant to Local Rule 9013-1(f),

the Debtors consent to the entry of a final order by the Court in connection with the Motion to

the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments consistent with Article III of the United States Constitution. Venue of

the Chapter 11 Cases and related proceedings is proper before the Court pursuant to 28 U.S.C. §§

1408 and 1409.

          G.    Notice. The Final Hearing was scheduled and noticed pursuant to Bankruptcy

Rule 4001(b)(2) and (c)(2). Adequate and sufficient notice of the Motion has been provided in

accordance with the Interim Order, the Bankruptcy Code, the Bankruptcy Rules, and the Local

Rules, and under the circumstances, no other or further notice of the Motion or the entry of this

Final Order shall be required. The interim relief granted pursuant to the Interim Order was

necessary to avoid immediate and irreparable harm to the Debtors and their estates and the final

relief granted pursuant to this Final Order is necessary to avoid significant and irreparable harm

to the Debtors and their estates.

          H.    Debtors’ Stipulations. After consultation with their attorneys and financial

advisors, and without prejudice to the rights of a Committee or any other party in interest

(subject to the limitations thereon contained in paragraphs 19 and 20 below), the Debtors

acknowledge, admit, stipulate, and agree that:

                (i)    Prepetition Revolving Credit Facility. Pursuant to that certain Third

          Amended & Restated Revolving Credit Agreement, dated as of August 4, 2014 and



                                                  6
#91937572v14
               Case 19-10702-MFW          Doc 200      Filed 05/07/19     Page 7 of 61



          amended six times through August 10, 2018 (as amended, supplemented, or otherwise

          modified from time to time in accordance with the terms thereof, the “Prepetition

          Revolving Credit Agreement” and, together with the schedules and exhibits attached

          thereto and all agreements, documents, instruments, and amendments executed and

          delivered in connection therewith, the “Prepetition Revolving Facility Documents”),

          among Southcross, as borrower, Wells Fargo Bank, National Association, as

          administrative agent (in such capacity, the “Prepetition Revolving Agent”), and the

          lenders party thereto (the “Prepetition Revolving Lenders” and, together with the

          Prepetition Revolving Agent, the “Prepetition Revolving Secured Parties”), the

          Prepetition Revolving Lenders provided revolving credit and other financial

          accommodations to, and issued letters of credit for the account of, Southcross (the

          “Prepetition Revolving Facility”), which Prepetition Revolving Facility has been

          guaranteed on a joint and several basis by each of the Guarantors.

                 (ii)    Prepetition Revolving Debt. As of the Petition Date, the Borrower and the

          Guarantors were justly and lawfully indebted and liable to the Prepetition Revolving

          Secured Parties, without defense, counterclaim, or offset of any kind, in respect of

          (a) outstanding loans in the aggregate principal amount of not less than $81.1 million,

          (b) undrawn Letters of Credit (as defined in the Prepetition Revolving Credit Agreement)

          (the “Prepetition Letters of Credit”) in the amount of not less than $25.9 million, and

          (c) three Secured Hedging Agreements (as defined in the Prepetition Revolving Credit

          Agreement) with a notional value of not less than $275 million, pursuant to and in

          accordance with the terms of, the Prepetition Revolving Facility Documents (collectively,

          such indebtedness together with accrued and unpaid interest thereon and fees, expenses,



                                                   7
#91937572v14
               Case 19-10702-MFW           Doc 200     Filed 05/07/19     Page 8 of 61



          charges, indemnities, and other obligations incurred in connection therewith as provided

          in the Prepetition Revolving Facility Documents, the “Prepetition Revolving Debt”).

                 (iii)   Prepetition Term Facility. Pursuant to that certain Term Loan Credit

          Agreement, dated as of August 4, 2014 (as amended, supplemented, or otherwise

          modified from time to time in accordance with the terms thereof, the “Prepetition Term

          Loan Credit Agreement” and, together with the schedules and exhibits attached thereto

          and all agreements, documents, instruments, and amendments executed and delivered in

          connection therewith, the “Prepetition Term Facility Documents”), among Southcross,

          as borrower, Wilmington Trust, N.A., as successor administrative agent (in such capacity,

          the “Prepetition Term Agent” and, together with the Prepetition Revolving Agent, the

          “Prepetition Agents”), and the lenders party thereto (the “Prepetition Term Lenders”

          and, together with the Prepetition Term Agent, the “Prepetition Term Secured Parties”

          and, together with the Prepetition Revolving Secured Parties, the “Prepetition Secured

          Parties”), the Prepetition Term Lenders provided term loans to Southcross (the

          “Prepetition Term Facility” and, together with the Prepetition Revolving Facility, the

          “Prepetition Secured Credit Facilities”), which Prepetition Term Facility has been

          guaranteed on a joint and several basis by each of the Guarantors.

                 (iv)    Prepetition Term Debt. As of the Petition Date, the Borrower and the

          Guarantors were justly and lawfully indebted and liable to the Prepetition Term Secured

          Parties, without defense, counterclaim, or offset of any kind, in respect of loans

          (the “Prepetition Term Loans”) in the aggregate principal amount of not less than

          $429,140,515.29, pursuant to and in accordance with the terms of the Prepetition Term

          Facility Documents (collectively, such indebtedness together with accrued and unpaid



                                                   8
#91937572v14
               Case 19-10702-MFW           Doc 200      Filed 05/07/19      Page 9 of 61



          interest thereon and fees, expenses, charges, indemnities, and other obligations incurred

          in connection therewith as provided therein, the “Prepetition Term Debt” and, together

          with the Prepetition Revolving Debt, the “Prepetition Secured Debt”).

                 (v)     Validity of Prepetition Secured Debt. (a) The Prepetition Secured Debt

          constitutes legal, valid, binding, and non-avoidable obligations of the Borrower and the

          Guarantors, enforceable in accordance with the terms of the Prepetition Secured Debt

          Documents (other than in respect of the stay of enforcement arising from section 362 of

          the Bankruptcy Code) and (b) no portion of the Prepetition Secured Debt, or any

          payments made to the Prepetition Secured Parties or applied to or paid on account of the

          obligations owing under the Prepetition Secured Debt Documents prior to the Petition

          Date, is subject to any contest, attack, rejection, recovery, recoupment, reduction,

          defense, counterclaim, offset, subordination, recharacterization, avoidance or other claim,

          cause of action, or other challenge of any nature under the Bankruptcy Code or applicable

          non-bankruptcy law.

                 (vi)    Prepetition Liens. The liens and security interests granted to the

          Prepetition Secured Parties (the “Prepetition Liens”), pursuant to and in connection with

          the Prepetition Secured Debt Documents, are (a) valid, binding, perfected, enforceable

          liens and security interests in the Shared Collateral (as defined in the Intercreditor

          Agreement) (the “Prepetition Collateral”), (b) not subject to avoidance,

          recharacterization, subordination, recovery, attack, effect, counterclaim, defense, or claim

          under the Bankruptcy Code or applicable non-bankruptcy law, and (c) as of the Petition

          Date, subject only to Permitted Senior Liens permitted under the Prepetition Secured

          Debt Documents.



                                                    9
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19    Page 10 of 61



                   (vii)   No Control. None of the Prepetition Secured Parties control the Debtors

          or their properties or operations, have authority to determine the manner in which any

          Debtor’s operations are conducted, or are control persons or insiders of the Debtors by

          virtue of any of the actions taken with respect to, in connection with, related to, or arising

          from the Prepetition Secured Debt Documents.

                   (viii) No Claims or Causes of Action. No claims, counterclaims, or causes of

          action of any kind or nature exist against, or with respect to, the Prepetition Secured

          Parties under any agreements by and among the Debtors and any such party that is in

          existence as of the Petition Date, whether related to the Prepetition Secured Debt

          Documents, any other agreement, the Debtors, or otherwise.

          I.       Findings Regarding the DIP Financing and Use of Cash Collateral.

                   (i)     Good and sufficient cause has been shown for the entry of this Final

          Order.

                   (ii)    The Loan Parties have a critical need for the DIP Financing and to

          continue to use the Prepetition Collateral (including “cash collateral” within the meaning

          of section 363(a) of the Bankruptcy Code (“Cash Collateral”)) in order to permit, among

          other things, the orderly continuation of the operation of their businesses, to maintain

          business relationships with vendors, suppliers, and customers, to make payroll, to make

          capital expenditures, to administer the Chapter 11 Cases, to cash collateralize the

          Prepetition Letters of Credit (in the amount of 103% of the face amount of issued and

          outstanding Prepetition Letters of Credit), and to satisfy other working capital and

          operational needs. The access of the Loan Parties to sufficient working capital and

          liquidity through the use of Cash Collateral and other Prepetition Collateral, incurrence of



                                                    10
#91937572v14
               Case 19-10702-MFW          Doc 200      Filed 05/07/19    Page 11 of 61



          new indebtedness under the DIP Documents, and other financial accommodations

          provided under the DIP Documents are necessary and vital to the preservation and

          maintenance of the going concern values of the Loan Parties and to a successful

          reorganization of the Loan Parties.

                 (iii)   The Loan Parties are unable to obtain financing on more favorable terms

          from sources other than the DIP Lenders under the DIP Documents and are unable to

          obtain adequate unsecured credit allowable under section 503(b)(1) of the Bankruptcy

          Code as an administrative expense. The Loan Parties are also unable to obtain secured

          credit allowable under section 364(c)(1), 364(c)(2), or 364(c)(3) of the Bankruptcy Code

          without (A) granting to the DIP Secured Parties the DIP Liens and the DIP Superpriority

          Claims and (B) incurring the Adequate Protection Obligations, in each case subject to the

          Carve-Out and the terms and conditions set forth in the Interim Order, this Final Order,

          and in the DIP Documents.

                 (iv)    Based on the Motion, the Howe Declaration, the D’Souza Declaration, and

          the record presented to the Court at the Interim Hearing and the Final Hearing, the terms

          of the DIP Financing and the terms on which the Loan Parties may continue to use the

          Prepetition Collateral (including Cash Collateral) pursuant to the Interim Order, this Final

          Order, and the DIP Documents are fair and reasonable, reflect the Loan Parties’ exercise

          of prudent business judgment consistent with their fiduciary duties, and constitute

          reasonably equivalent value and fair consideration.

                 (v)     Absent order of the Court and the provision of adequate protection,

          consent of the Prepetition Secured Parties is required for the Loan Parties’ use of Cash

          Collateral and the other Prepetition Collateral. The Prepetition Secured Parties have



                                                  11
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19     Page 12 of 61



          consented, are deemed, pursuant to that certain Intercreditor Agreement, dated as of

          August 4, 2014, by and among Southcross, the Prepetition Agents, and the other grantors

          party thereto (the “Intercreditor Agreement” and, together with the Prepetition

          Revolving Facility Documents and the Prepetition Term Facility Documents, the

          “Prepetition Secured Debt Documents”), to have consented, or have not objected to the

          Loan Parties’ use of Cash Collateral and the other Prepetition Collateral, and the Loan

          Parties’ entry into the DIP Documents solely in accordance with and subject to the terms

          and conditions in the Interim Order, this Final Order, and the DIP Documents.

                  (vi)    The DIP Financing and the use of the Prepetition Collateral have been

          negotiated in good faith and at arm’s length among the Loan Parties and the DIP Secured

          Parties, and all of the Loan Parties’ obligations and indebtedness arising under, in respect

          of, or in connection with, the DIP Financing and the DIP Documents, including, without

          limitation, all “Obligations” (as defined in the DIP Documents), in each case owing to the

          DIP Secured Parties or any of their respective banking affiliates (collectively, the “DIP

          Obligations”), shall be deemed to have been extended by the DIP Secured Parties and

          their respective affiliates in good faith, as that term is used in section 364(e) of the

          Bankruptcy Code and in express reliance upon the protections offered by section 364(e)

          of the Bankruptcy Code, and the DIP Secured Parties (and the successors and assigns

          thereof) shall be entitled to the full protection of section 364(e) of the Bankruptcy Code

          in the event that this Final Order or any other order (including, without limitation, the

          Interim Order) or any provision hereof or thereof is vacated, reversed, or modified on

          appeal or otherwise.




                                                    12
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19    Page 13 of 61



                 (vii)   The Prepetition Secured Parties have acted in good faith regarding the DIP

          Financing and the Loan Parties’ continued use of the Prepetition Collateral (including

          Cash Collateral) to fund the administration of the Loan Parties’ estates and continued

          operation of their businesses (including the incurrence and payment of the Adequate

          Protection Obligations and the granting of the Adequate Protection Liens), in accordance

          with the terms hereof, and the Prepetition Secured Parties (and the successors and assigns

          thereof) shall be entitled to the full protection of sections 363(m) and 364(e) of the

          Bankruptcy Code, as may be applicable, in the event that this Final Order or any order

          (including, without limitation, the Interim Order) or any provision hereof or thereof is

          vacated, reversed, or modified on appeal or otherwise.

                 (viii) The Prepetition Secured Parties are entitled to the adequate protection

          provided in the Interim Order and this Final Order as and to the extent set forth herein

          and therein pursuant to sections 361, 362, 363, and 364 of the Bankruptcy Code. Based

          on the Motion and on the record presented to the Court in connection with the Motion,

          the Interim Order, and this Final Order, the terms of the proposed adequate protection

          arrangements and the use of the Prepetition Collateral are fair and reasonable, reflect the

          Loan Parties’ prudent exercise of business judgment, and constitute reasonably

          equivalent value and fair consideration for the use of the Prepetition Collateral; provided

          that nothing in the Interim Order, this Final Order, or the other DIP Documents shall

          (a) be construed as the affirmative consent by any of the Prepetition Secured Parties for

          the use of Cash Collateral other than on the terms set forth in the Interim Order and this

          Final Order and in the context of the DIP Financing authorized by the Interim Order and

          this Final Order, (b) be construed as a consent by any party to the terms of any other



                                                   13
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19    Page 14 of 61



          financing or any other lien encumbering the Prepetition Collateral (whether senior or

          junior), or (c) prejudice, limit, or otherwise impair the rights of any of the Prepetition

          Secured Parties, subject to any applicable provisions of the Intercreditor Agreement, to

          seek new, different, or additional adequate protection for any diminution in value of their

          interests in the Prepetition Collateral from and after the Petition Date or assert the

          interests of any of the Prepetition Secured Parties and the rights of any other party in

          interest to object to such relief are hereby preserved.

                  (ix)    Use of the DIP LC Loans, upon entry of the Interim Order, to cash

          collateralize all Letters of Credit (in the amount of 103% of the face amount) and use of

          the DIP Roll-Up Loans, upon the funding of the Delayed Draw DIP Term Loans, to

          refinance and discharge the DIP Lenders’ Prepetition Term Loans (in an amount equal to

          the DIP Term Loans and DIP LC Loans provided by such DIP Lenders under the DIP

          Facility) reflects the Loan Parties’ exercise of prudent business judgment consistent with

          their fiduciary duties.

                  (x)     Absent granting the relief set forth in this Final Order, the Loan Parties’

          estates will be significantly and irreparably harmed. Consummation of the DIP

          Financing and the use of the Prepetition Collateral (including Cash Collateral) in

          accordance with the Interim Order, this Final Order, and the DIP Documents are,

          therefore, in the best interests of the Loan Parties’ estates and consistent with the Loan

          Parties’ exercise of their fiduciary duties.

          J.      Permitted Senior Liens; Continuation of Prepetition Liens. Nothing in the Interim

Order or this Final Order shall constitute a finding or ruling by this Court that any alleged

Permitted Senior Lien is valid, senior, enforceable, prior, perfected, or non-avoidable.



                                                    14
#91937572v14
               Case 19-10702-MFW         Doc 200       Filed 05/07/19    Page 15 of 61



Notwithstanding anything contained herein or in the Interim Order, nothing herein shall

prejudice the rights of any party-in-interest, including, but not limited to, the Debtors, the DIP

Agent, the DIP Lenders, the Prepetition Secured Parties, or a Committee (if appointed), to

challenge the validity, priority, enforceability, seniority, avoidability, perfection, or extent of any

alleged Permitted Senior Lien and/or security interests. The right of a seller of goods to reclaim

such goods under section 546(c) of the Bankruptcy Code is not a Permitted Senior Lien and is

expressly subject to the DIP Liens. The Prepetition Liens, and the DIP Liens that prime the

Prepetition Liens, are continuing liens and the DIP Collateral is and will continue to be

encumbered by such liens in light of the integrated nature of the DIP Facilities, the DIP

Documents, and the Prepetition Secured Debt Documents.

          IT IS HEREBY ORDERED THAT:

          1.     Financing Approved. The relief requested in the Motion is granted and the use of

Cash Collateral on a final basis, the Delayed Draw DIP Loans and the Prepetition Term Loan

Refinancing (in addition to the Interim Financing and the Prepetition L/C Refinancing authorized

by the Interim Order) are authorized and approved, in each case in accordance with the terms and

conditions set forth in the DIP Documents, the Approved Budget (including any permitted

variances), the Interim Order, and this Final Order. Any objections to the Motion with respect to

the entry of this Final Order that have not been withdrawn, waived, or settled, and all

reservations of rights included therein, are hereby denied and overruled on the merits.

          2.     Authorization of the DIP Financing and the DIP Documents.

                 (a)     The Loan Parties are hereby authorized to execute, deliver, enter into, and,

          as applicable, perform all of their obligations under the DIP Documents and such other

          and further acts as may be necessary, appropriate, or desirable in connection therewith, in



                                                  15
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19    Page 16 of 61



          each case in accordance with and subject to the terms of the Interim Order, this Final

          Order, and the DIP Documents. The Borrower is hereby authorized to borrow money and

          obtain letters of credit pursuant to the DIP Credit Agreement, subject to any limitations

          on borrowing under the DIP Documents, which shall be used for all purposes permitted

          under the DIP Documents, including, without limitation, to pay certain costs, fees, and

          expenses related to the Chapter 11 Cases, to pay the Adequate Protection Payments, to

          cash collateralize the Prepetition Letters of Credit (in the amount of 103% of the face

          amount of issued and outstanding Prepetition Letters of Credit), and to fund working

          capital and for general corporate purposes of the Loan Parties during the Chapter 11

          Cases, in each case, subject to the Approved Budget (including any permitted variances)

          and in accordance with the Interim Order, this Final Order, and the DIP Documents, and

          the Guarantors are hereby authorized to guaranty the DIP Obligations.

                 (b)     In furtherance of the foregoing and without further approval of the Court,

          each Debtor in accordance with the Interim Order and this Final Order, is authorized to

          perform all acts, to make, execute, and deliver all instruments, certificates, agreements,

          and documents (including, without limitation, the execution or recordation of security

          agreements, mortgages, and financing statements), and to pay all fees in connection with

          or that may be reasonably required, necessary, or desirable for the Loan Parties’

          performance of their obligations under or related to the DIP Financing, including, without

          limitation:

                         (i)     the execution and delivery of, and performance under, each of the

                 DIP Documents;




                                                   16
#91937572v14
               Case 19-10702-MFW        Doc 200       Filed 05/07/19    Page 17 of 61



                       (ii)    the execution and delivery of, and performance under, one or more

                amendments, waivers, consents, or other modifications to and under the DIP

                Documents, in each case, in such form as the Loan Parties, the DIP Agent, the

                requisite DIP Lenders, and (if required under the DIP Documents) the DIP L/C

                Issuers may agree, it being understood that no further approval of the Court shall

                be required for any authorizations, amendments, waivers, consents, or other

                modifications to and under the DIP Documents (and any fees and other expenses,

                amounts, charges, costs, indemnities, and other obligations paid in connection

                therewith) that do not (A) shorten the maturity of the extensions of credit

                thereunder or increase the aggregate commitments or the rate of interest payable

                thereunder, (B) increase existing fees or add new fees thereunder (excluding, for

                the avoidance of doubt, any amendment, consent, or waiver fee), or (C) shorten

                the case milestones set forth in Section 8.23 of the DIP Credit Agreement. The

                foregoing shall be without prejudice to the Loan Parties’ right to seek approval

                from the Court of any material modification or amendment on an expedited basis;

                       (iii)   the non-refundable payment to the DIP Agent and/or the DIP

                Lenders, as the case may be, of all reasonable and documented fees (which fees

                have been and are deemed to have been approved upon entry of the Interim Order

                and upon payment thereof, shall not be subject to any contest, attack, rejection,

                recoupment, reduction, defense, counterclaim, offset, subordination,

                recharacterization, avoidance or other claim, cause of action, or other challenge of

                any nature under the Bankruptcy Code, applicable non-bankruptcy law, or

                otherwise) and any amounts due (or that may become due) in respect of the



                                                 17
#91937572v14
               Case 19-10702-MFW         Doc 200       Filed 05/07/19    Page 18 of 61



                indemnification obligations, in each case referred to in the DIP Documents (and

                in any separate letter agreements between any or all of the Loan Parties, on the

                one hand, and any of the DIP Secured Parties, on the other, in connection with the

                DIP Financing), and the costs and expenses as may be due from time to time,

                including, without limitation, reasonable and documented fees and expenses of

                the professionals retained by any of the DIP Agent and DIP Lenders, in each case,

                as provided for in the DIP Documents, whether or not such fees or expenses arose

                prior to or after the Petition Date without the need to file retention motions or fee

                applications or to provide notice to any party; and

                       (iv)    the performance of all other acts necessary, appropriate, or

                desirable under or in connection with the DIP Documents.

          3.    Prepetition Debt Refinancing. Pursuant to the terms and conditions of the Interim

Order and this Final Order, and in accordance with paragraph 9 below, the Debtors are hereby

authorized to use the proceeds of the DIP LC Loan to cash collateralize the Prepetition Letters of

Credit (in the amount of 103% of the face amount of issued and outstanding Prepetition Letters

of Credit) and the Prepetition Letters of Credit will be deemed to have been cancelled and

reissued as DIP Letters of Credit in their full amounts and without modification of the terms of

the Prepetition Letters of Credit other than their deemed issuance as DIP Letters of Credit under

the DIP L/C Sub-Facility. The Debtors shall use the DIP Roll-Up Loans to refinance and

discharge the DIP Lenders’ Prepetition Term Loans (in an amount equal to the DIP Term Loans

and DIP LC Loans provided and/or committed to under the DIP New Money Facility), in each

case subject to the terms and conditions set forth in the DIP Documents and the reservation of

rights of parties in interest in paragraph 19 below. Upon expiration of the Challenge Period



                                                  18
#91937572v14
               Case 19-10702-MFW       Doc 200       Filed 05/07/19    Page 19 of 61



without a successful Challenge having been brought with respect thereto, the DIP Roll-Up Loans

issued under this paragraph 3 shall be deemed indefeasible and the Prepetition Secured Debt

refinanced thereby shall be discharged. Notwithstanding anything to the contrary in the Interim

Order, this Final Order, or in the Intercreditor Agreement (as may be amended and/or modified

from time to time after the Petition Date), (a) the claims and liens in respect of the DIP Roll-Up

Loans shall be subject and subordinate to the claims and liens in respect of the DIP LC Loans

and the DIP Term Loans in all respects and (b) the claims and liens in respect of the DIP Roll-Up

Loans shall be pari passu with the Prepetition Revolving Debt in all respects such that

distributions on the Prepetition Revolving Debt are pro rata with the sum of the DIP Roll-Up

Loans and the Prepetition Term Loans; provided that any proceeds allocated on account of the

DIP Roll-Up Loans and the Prepetition Term Loans shall be applied first to the repayment of the

DIP Roll-Up Loans before any Prepetition Term Loan.

          4.    DIP Obligations. Upon execution and delivery of the DIP Documents, the DIP

Documents shall constitute valid, binding, and non-avoidable obligations of the Loan Parties

enforceable against each Loan Party thereto in accordance with the terms of the DIP Documents,

the Interim Order, and this Final Order as of the date of the entry of the Interim Order. No

obligation, payment, transfer, or grant of security to the DIP Secured Parties under the DIP

Documents, the Interim Order, or this Final Order shall be stayed, restrained, voidable,

avoidable, or recoverable under the Bankruptcy Code or under any applicable law (including,

without limitation, under section 502(d), 544, 548, or 549 of the Bankruptcy Code or under any

applicable state Uniform Voidable Transactions Act, Uniform Fraudulent Transfer Act, Uniform

Fraudulent Conveyance Act, or similar statute or common law), or subject to any defense,

reduction, setoff, recoupment, claim, or counterclaim.



                                                19
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19    Page 20 of 61



          5.     Carve-Out.

                 (a)     As used in this Final Order, the “Carve-Out” shall mean a carve-out from

          the DIP Superpriority Claims, the DIP Liens (other than DIP Liens in the Cash Collateral,

          held in the Cash Collateral Account, securing DIP Letters of Credit), the 507(b) Claims,

          and the Adequate Protection Liens, in an amount equal to the sum of (i) all fees required

          to be paid to the Clerk of the Court and to the U.S. Trustee under section 1930(a) of title

          28 of the United States Code plus interest at the statutory rate (without regard to the

          Carve-Out Trigger Notice), (ii) all reasonable fees and expenses incurred by a trustee

          under section 726(b) of the Bankruptcy Code in an aggregate amount not to exceed

          $50,000 (without regard to the Carve-Out Trigger Notice), (iii) to the extent allowed by

          the Court at any time, whether by interim order, procedural order, or otherwise, all unpaid

          fees and expenses (the “Professional Fees”) incurred by persons or firms retained by the

          Debtors, pursuant to section 327, 328, or 363 of the Bankruptcy Code, or by a

          Committee, if any, pursuant to section 328 and 1103 of the Bankruptcy Code

          (collectively, the “Professional Persons”), at any time on or before the first business day

          following the earlier of (A) delivery by the DIP Agent (acting upon the express prior

          written direction of the Required Lenders (as defined in the DIP Credit Agreement)) of a

          Carve-Out Trigger Notice and (B) the Maturity Date (as defined in the DIP Credit

          Agreement) (such day, the “Carve-Out Trigger Date”), whether allowed by the Court

          prior to or after the Carve-Out Trigger Date, and (iv) Professional Fees incurred after the

          Carve-Out Trigger Date in an amount not to exceed $4,000,000 (the “Post Trigger Date

          Carve-Out Amount”); provided that any success, completion, or similar fees payable

          from the Post-Trigger Date Carve-Out Amount shall be subject and subordinate, and



                                                   20
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19    Page 21 of 61



          junior in right of payment, to all other Professional Fees payable from the Post-Trigger

          Date Carve-Out (collectively, the “Carve-Out Amount”), in each case subject to the

          limits imposed by the Interim Order or this Final Order. For purposes of the foregoing,

          “Carve-Out Trigger Notice” shall mean a written notice delivered by email by the DIP

          Agent (acting upon the express prior written direction of the Required Lenders (as

          defined in the DIP Credit Agreement)) to the Debtors’ lead restructuring counsel, the

          U.S. Trustee, and counsel to a Committee, if any, which notice may be delivered

          following the occurrence and during the continuation of an “Event of Default” under the

          DIP Documents (an “Event of Default”), stating that the Post-Carve-Out Trigger Notice

          Cap has been invoked.

                 (b)     Prior to the occurrence of the Carve-Out Trigger Date, the Debtors are

          authorized (subject to the Approved Budget) to pay Professional Fees that are authorized

          to be paid in accordance with the provisions of the Bankruptcy Code and any order

          entered by the Court establishing procedures for the payment of compensation to

          Professional Persons in the Chapter 11 Cases, as the same may be due and payable, and

          such payments shall not reduce the Carve-Out Amount. Any payment or reimbursement

          made after the Carve-Out Trigger Date on account of Professional Fees incurred after the

          Carve-Out Trigger Date shall permanently reduce the Carve-Out on a dollar-for-dollar

          basis, provided that the Carve-Out shall not include, apply to, or be available for any fees

          or expenses incurred by any party in connection with the restricted uses thereof set forth

          in paragraph 20.

                 (c)     Immediately upon the Carve-Out Trigger Date, and prior to the payment

          of any DIP Secured Party or Prepetition Secured Party on account of adequate protection,



                                                   21
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19     Page 22 of 61



          the Debtors shall fund a reserve in an amount equal to the Carve-Out Amount (the

          “Carve-Out Reserve”) from all cash on hand (including Cash Collateral, but excluding

          all Cash Collateral in the Cash Collateral Account that secures the DIP Letters of Credit

          as of such date, and, including any available cash thereafter held by any Debtor

          (exclusive of any cash utilized to cash collateralize the Prepetition Letters of Credit in

          connection with the Prepetition L/C Refinancing)). The Carve-Out Reserve shall be held

          for the benefit of the Debtors in a segregated non-interest bearing account at the DIP

          Agent or another financial institution agreed to by the Borrower and the Required

          Lenders (as defined in the DIP Credit Agreement) in trust to pay the Professional Fees

          and other obligations benefiting from the Carve-Out and the Carve-Out Reserve shall be

          available only to satisfy such obligations benefiting from the Carve-Out until paid in full;

          provided that the DIP Agent shall follow the instructions of the Debtors with respect to

          the disbursement of the Carve-Out Reserve consistent with the provisions of this Final

          Order; provided further that the DIP Agent shall not be liable to any Professional Person

          or any other person or entity with respect to the Carve-Out Reserve held at the DIP

          Agent, and all actions (or inactions) by the DIP Agent related thereto shall be exculpated

          by all such parties, except in the event a court of competent jurisdiction determines that

          the DIP Agent breached its obligations under this Final Order by not following an

          instruction of the Debtors that was consistent with the provisions of this Final Order with

          respect to the Carve-Out Reserve; provided further that, to the extent the Carve-Out

          Reserve has not been reduced to zero after the payment in full of such obligations, it shall

          be used to pay the DIP Agent for the benefit of the DIP Secured Parties until the DIP

          Obligations have been indefeasibly paid in full in cash and all DIP Commitments have



                                                   22
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19    Page 23 of 61



          been terminated. Notwithstanding anything to the contrary herein, the Prepetition Agents

          and the DIP Agent, each on behalf of itself and the relevant secured parties, (i) shall not

          sweep or foreclose on the Carve-Out Reserve and (ii) shall have a security interest upon

          any residual interest in the Carve-Out Reserve, available following satisfaction in cash in

          full of all obligations benefitting from the Carve-Out, and the priority of such lien on the

          residual shall be consistent with this Final Order. Further, notwithstanding anything to

          the contrary herein, (i) the failure of the Carve-Out Reserve to satisfy in full the

          Professional Fees shall not affect the priority of the Carve-Out and (ii) in no way shall the

          Carve-Out, the Post-Trigger Date Carve-Out Amount, the Carve-Out Reserve, or any of

          the foregoing be construed as a cap or limitation on the amount of the Professional Fees

          due and payable by the Debtors.

                 (d)     Notwithstanding anything to the contrary herein or in the DIP Documents,

          the Carve-Out shall be senior to the DIP Obligations, the DIP Superpriority Claims, the

          DIP Liens (other than the DIP Liens in the Cash Collateral in the Cash Collateral

          Account that secures the DIP Letters of Credit), the Adequate Protection Obligations, the

          507(b) Claims, the Adequate Protection Liens, and all other liens and claims granted

          under the Interim Order, this Final Order, the DIP Documents, or otherwise securing or in

          respect of the DIP Obligations or the Adequate Protection Obligations.

          6.     No Direct Obligation to Pay Allowed Professional Fees. None of the Prepetition

Secured Parties or DIP Secured Parties shall be responsible for the payment or reimbursement of

any fees or disbursements of any Professional Person incurred in connection with the Chapter 11

Cases or any successor cases under any chapter of the Bankruptcy Code. Nothing in the Interim

Order, this Final Order, or otherwise shall be construed to obligate the Prepetition Secured



                                                    23
#91937572v14
               Case 19-10702-MFW        Doc 200       Filed 05/07/19   Page 24 of 61



Parties or the DIP Secured Parties, in any way, to pay compensation to, or to reimburse expenses

of, any Professional Person or to guarantee that the Debtors have sufficient funds to pay such

compensation or reimbursement.

          7.    DIP Superpriority Claims. Pursuant to section 364(c)(1) of the Bankruptcy Code,

and effective as of the Petition Date, all of the DIP Obligations shall constitute allowed

superpriority administrative expense claims against the Loan Parties (without the need to file any

proof of claim) with priority over any and all claims against the Loan Parties, now existing or

hereafter arising, of any kind whatsoever, including, without limitation, all administrative

expenses or other claims arising under section 105, 326, 328, 330, 331, 365, 503(b), 507(a),

507(b), 726, 1113, or 1114 of the Bankruptcy Code (including the Adequate Protection

Obligations), whether or not such expenses or claims may become secured by a judgment lien or

other non-consensual lien, levy, or attachment, which allowed claims (the “DIP Superpriority

Claims”) shall for purposes of section 1129(a)(9)(A) of the Bankruptcy Code be considered

administrative expenses allowed under section 503(b) of the Bankruptcy Code, and which DIP

Superpriority Claims shall be payable from and have recourse to all prepetition and post-petition

property of the Loan Parties and all proceeds thereof (excluding the Loan Parties’ claims and

causes of action under sections 502(d), 506(c), 544, 545, 547, 548, 549, 550, and 553 of the

Bankruptcy Code and under any applicable state Uniform Voidable Transactions Act, Uniform

Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act, and similar statutes or common

law (collectively, the “Avoidance Actions”), but including any proceeds or property recovered,

unencumbered or otherwise from Avoidance Actions, whether by judgment, settlement, or

otherwise (“Avoidance Proceeds”), subject only to the liens on such property and the Carve-

Out. The DIP Superpriority Claims shall be entitled to the full protection of section 364(e) of the



                                                 24
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19     Page 25 of 61



Bankruptcy Code in the event that the Interim Order, this Final Order, or any provision hereof or

thereof is vacated, reversed, or modified on appeal or otherwise. The DIP Superpriority Claims

shall be pari passu in right of payment with one another and senior to the Adequate Protection

Claims; provided that the DIP Superpriority Claims in respect of the DIP Roll-Up Loans shall be

subject and subordinate to the DIP Superpriority Claims in respect of the DIP Term Loans and

the DIP LC Loans.

          8.      DIP Liens. As security for the DIP Obligations, effective and perfected upon the

Petition Date and without the necessity of the execution, recordation, or filing of mortgages,

security agreements, control agreements, pledge agreements, financing statements, notations on

certificates of title for titled goods or other similar documents, or the possession or control by the

DIP Agent of, or over, any DIP Collateral, the following security interests and liens are hereby

granted to the DIP Agent for its own benefit and the benefit of the DIP Lenders (all property

identified in clauses (a) through (c) below being collectively referred to as the “DIP Collateral”,

subject to the Carve-Out and in each case in accordance with the priorities set forth below (all

such liens and security interests granted to the DIP Agent, for its benefit and for the benefit of

the DIP Lenders, pursuant to the Interim Order, this Final Order, and the DIP Documents, the

“DIP Liens”):

                  (a)     First Lien on Unencumbered Property. Pursuant to section 364(c)(2) of

          the Bankruptcy Code, a valid, binding, continuing, enforceable, fully perfected first

          priority senior security interest in and lien upon all tangible and intangible prepetition and

          post-petition property of the Loan Parties, whether existing on the Petition Date or

          thereafter acquired, that, on or as of the Petition Date, is not subject to a valid, perfected,

          and non-avoidable lien (collectively, “Unencumbered Property”), including, without



                                                    25
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19    Page 26 of 61



          limitation, any and all unencumbered cash of the Loan Parties (whether maintained with

          the DIP Agent or otherwise) and any investment of such cash, inventory, accounts

          receivable, other rights to payment whether arising before or after the Petition Date,

          contracts, properties, plants, fixtures, machinery, equipment, general intangibles,

          documents, instruments, securities, chattel paper, interests in leaseholds, real properties,

          deposit accounts, patents, copyrights, trademarks, trade names, rights under license

          agreements and other intellectual property, letter-of-credit rights, investment property and

          support obligations, commercial tort claims, all books and records pertaining to the

          property described in this paragraph, all property of the Loan Parties held by any DIP

          Secured Party, all other goods (including but not limited to fixtures) and personal

          property of the Loan Parties, whether tangible or intangible and wherever located,

          Avoidance Proceeds, capital stock of subsidiaries, wherever located, and, to the extent

          not covered by the foregoing, all other assets or property of the Debtors, whether

          tangible, intangible, real, personal or mixed, and the proceeds, products, rents, and profits

          of the foregoing, whether arising under section 552(b) of the Bankruptcy Code or

          otherwise, of all the foregoing, in each case other than the Excluded Property (as defined

          in the DIP Documents) and Avoidance Actions, but including any proceeds of Excluded

          Property that do not otherwise constitute Excluded Property.

                 (b)     Liens Priming Prepetition Secured Parties’ Liens. Pursuant to section

          364(d)(1) of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully

          perfected first priority priming security interest in and lien upon all Prepetition Collateral

          and DIP Collateral (wherever located and the proceeds, products, rents and profits

          thereof), subject and subordinate only to the Permitted Senior Liens, but senior in all



                                                    26
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19     Page 27 of 61



          respects to the Prepetition Liens and the Adequate Protection Liens (any such liens

          primed pursuant to this clause (b), the “Primed Liens”); provided that the DIP Liens in

          respect of the DIP Roll-Up Loans shall remain subject to the Intercreditor Agreement

          except that any proceeds allocated thereunder on account of the DIP Roll-Up Loans or

          the Prepetition Term Debt shall be applied first to the repayment in full of the DIP Roll-

          Up Loans before being applied to any Prepetition Term Debt.

                 (c)     Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the

          Bankruptcy Code, a valid, binding, continuing, enforceable, fully perfected security

          interest in and lien upon all prepetition and post-petition property of the Loan Parties

          (wherever located, and the proceeds, products, rents, and profits thereof) immediately

          junior to (i) valid, perfected, and non-avoidable liens (other than Primed Liens) in

          existence immediately prior to the Petition Date, (ii) valid non-avoidable liens (other than

          Primed Liens) that are perfected subsequent to the Petition Date as permitted by section

          546(b) of the Bankruptcy Code, and (iii) the liens in favor of the DIP L/C Issuers in

          respect of the Cash Collateral Accounts, securing the Loan Parties’ obligations under the

          DIP Letters of Credit (the liens described in the foregoing clause (i) through (iii),

          the “Permitted Senior Liens”); provided that nothing in this paragraph (c) shall limit the

          rights of the DIP Secured Parties under the DIP Documents to the extent the liens

          described in the foregoing clause (i) or (ii) are not permitted thereunder.

                 (d)     Liens Senior to Certain Other Liens. The DIP Liens shall not be

          (i) subject or subordinate to (A) any lien or security interest that is avoided and preserved

          for the benefit of the Loan Parties and their estates under section 551 of the Bankruptcy

          Code, (B) unless otherwise provided for in the DIP Documents, in the Interim Order or



                                                   27
#91937572v14
               Case 19-10702-MFW               Doc 200        Filed 05/07/19        Page 28 of 61



          this Final Order, any liens or security interests arising after the Petition Date, including,

          without limitation, any liens or security interests granted in favor of any federal, state,

          municipal, or other governmental unit (including any regulatory body), commission,

          board, or court for any liability of the Loan Parties, or (C) any intercompany or affiliate

          liens or security interests of the Loan Parties or (ii) subordinated to or made pari passu

          with any other lien or security interest under section 363 or 364 of the Bankruptcy Code

          granted after the date hereof.

                  (e)      Relative Priority of DIP Liens. Notwithstanding anything to the contrary

          in the Interim Order or this Final Order, the DIP Liens in respect of the DIP Roll-Up

          Loans shall be subject and subordinate to the DIP Liens in respect of the DIP Term Loans

          and the DIP LC Loans in all respects.

                  (f)      Local Texas Tax Authorities. Notwithstanding any provision of this Final

          Order, any valid, perfected, and unavoidable statutory liens held by Local Texas Tax

          Authorities4 that are senior to the Prepetition Liens held by the Prepetition Secured

          Parties shall neither be primed by nor subordinated to any liens granted pursuant to this

          Final Order. Furthermore, the claims and liens of the Local Texas Tax Authorities shall

          remain subject to any objections any party would otherwise be entitled to raise as to the

          priority, validity, or extent of such liens.

                  (g)      For the avoidance of doubt, any DIP Liens on DIP Collateral relating to

          real property of the Debtors granted pursuant to this paragraph 8 shall include, for the

          ratable benefit of the related DIP Secured Parties, in each case to the extent constituting

          DIP Collateral, all of each Debtor’s right, title, and interest now or hereafter acquired in
          4
            For purposes of this Final Order, the term “Local Texas Tax Authorities” shall refer to local
governmental entities that are (a) authorized by the State of Texas to assess and collect taxes and (b) represented by
either the law firms of Linebarger Goggan Blair & Sampson, LLP or McCreary, Veselka, Bragg & Allen, P.C.


                                                         28
#91937572v14
               Case 19-10702-MFW            Doc 200       Filed 05/07/19      Page 29 of 61



          and to all land, together with the buildings, structure, parking areas, and other

          improvements thereon, now or hereafter owned by any Debtor, including all easements,

          rights-of-way, and similar rights relating thereto and all leases, tenancies, and

          occupancies thereof, and (a) all goods, accounts, inventory, general intangibles,

          instruments, documents, contract rights, and chattel paper, (b) all reserves, escrows, or

          impounds and all deposit accounts maintained by each Debtor with respect to such real

          estate, (c) all leases, licenses, concessions, occupancy agreements, or other agreements

          (written or oral, now or at any time in effect) which grant to any person a possessory

          interest in, or the right to use, all or any part of such real estate, together with all related

          security and other deposits, (d) all of the rents, revenues, royalties, income proceeds,

          profits, accounts receivable, security and other types of deposits, and other benefits paid

          or payable by parties to the leases for using, leasing, licensing, possessing, operating

          from, residing in, selling or otherwise enjoying such real estate, (e) all other agreements,

          such as construction contracts, architects’ agreements, engineers’ contracts, utility

          contracts, maintenance agreements, management agreements, service contracts, listing

          agreements, guaranties, warranties, permits, licenses, certificates and entitlements in any

          way relating to the construction, use, occupancy, operation, maintenance, enjoyment, or

          ownership of such real estate, (f) all rights, privileges, tenements, hereditaments, rights-

          of-way, easements, appendages, and appurtenances appertaining to the foregoing, (g) all

          property tax refunds payable with respect to such real estate, (h) all accessions,

          replacements, and substitutions for any of the foregoing and all proceeds thereof, (i) all

          insurance policies, unearned premiums therefor, and proceeds from such policies

          covering any of the above property now or hereafter acquired by each Debtor as an



                                                     29
#91937572v14
               Case 19-10702-MFW            Doc 200       Filed 05/07/19   Page 30 of 61



          insured party, and (j) all awards, damages, remunerations, reimbursements, settlements,

          or compensation heretofore made or hereafter to be made to any Debtor by any

          governmental authority pertaining to any condemnation or other taking (or any purchase

          in lieu thereof) of all or any such real estate.

          9.      Establishment of Cash Collateral Accounts; Maintenance of Letters of Credit.

                  (a)     In order to cash collateralize the new letters of credit issued and the

          Prepetition Letters of Credit deemed issued (the “DIP Letters of Credit”) under the DIP

          L/C Sub-Facility, in accordance with the DIP Documents, and pursuant to the terms and

          conditions of the Interim Order and this Final Order, the Loan Parties shall (to the extent

          not done heretofore pursuant to the Interim Order), and are hereby authorized to, deposit

          as a single installment in cash into one or more non-interest-bearing cash collateral

          accounts established with the DIP Agent (the “Cash Collateral Accounts”) the proceeds

          of the DIP LC Loans, which shall cash collateralize the DIP Letters of Credit in the

          amount of 103% of the face amount of issued and outstanding DIP Letters of Credit. The

          amounts on deposit in the Cash Collateral Accounts shall be subject to (i) a first-priority

          security interest and lien in favor of the DIP Agent for the benefit of the DIP L/C Issuers,

          securing the obligations of the Loan Parties under the DIP Letters of Credit, and

          (ii) subject to the Carve-Out, a second-priority security interest and lien in favor of the

          DIP Agent for the benefit of the DIP Secured Parties, securing the other DIP Obligations.

                  (b)     Pursuant to the terms and conditions of the Interim Order and this Final

          Order (to the extent not done heretofore pursuant to the Interim Order), the Loan Parties

          are authorized to renew DIP Letters of Credit issued under the DIP L/C Sub-Facility on

          an uninterrupted basis and to take all actions reasonably appropriate with respect thereto



                                                     30
#91937572v14
               Case 19-10702-MFW          Doc 200      Filed 05/07/19    Page 31 of 61



          on an uninterrupted basis. Without limitation of the foregoing, upon entry of the Interim

          Order, the Prepetition Letters of Credit were deemed to have been cancelled and reissued

          as DIP Letters of Credit in their full amounts and without modification of the terms of the

          Prepetition Letters of Credit other than their deemed issuance as DIP Letters of Credit

          issued under the DIP L/C Sub-Facility. The DIP L/C Issuers shall be authorized to apply

          any Cash Collateral held against the amount of any draw on any DIP Letter of Credit, and

          reducing the DIP L/C Sub-Facility by such amount so applied, without notice of any kind

          or further order or action by the Court and the automatic stay provisions of section 362 of

          the Bankruptcy Code are hereby modified to the extent necessary to permit the DIP L/C

          Issuers to so apply any such Cash Collateral in the Cash Collateral Accounts. All issued

          and outstanding DIP Letters of Credit shall be cash collateralized at 103% of the face

          amount thereof and shall be deemed to be secured by Priority DIP Financing Liens (as

          defined in the Intercreditor Agreement) and the Cash Collateral advanced as DIP LC

          Loans under the DIP Facility. The DIP Letters of Credit shall remain cash collateralized

          as set forth in the Interim Order and herein at all times, and except as provided below

          with respect to Alternate Cash Collateral (as defined below), the Debtors shall have no

          right to use the Cash Collateral Accounts securing the DIP Letters of Credit, and such

          cash collateralization shall not be subject to any reduction by any chapter 11 plan, order

          of the Court, or otherwise; provided that, subject to the terms and conditions (including in

          section 9.03(j) of the DIP Credit Agreement) of the DIP Documents, the Borrower shall

          have the right to withdraw proceeds on deposit in the Cash Collateral Accounts (which

          shall be accompanied by corresponding reduction in the DIP L/C Sub-Facility by such

          amount so withdrawn) in an amount up to the “Alternate Cash Collateral Amount” (as



                                                  31
#91937572v14
                Case 19-10702-MFW         Doc 200       Filed 05/07/19     Page 32 of 61



          defined in the DIP Credit Agreement) to cash collateralize customer and/or supplier

          obligations (such cash collateral, the “Alternate Cash Collateral”) in lieu of issuing

          Letters of Credit.

                 (c)     To the extent there exists or comes to exist any cash of the Debtors’

          estates that is not Cash Collateral, wherever located and however held, such cash shall be

          deemed to have been used first by the Debtors’ estates and such cash, to the extent

          applicable, shall be subject to the DIP Liens and DIP Superpriority Claims granted to the

          DIP Lenders under the Interim Order and this Final Order.

          10.    Protection of DIP Lenders’ Rights.

                 (a)     So long as there are any DIP Obligations outstanding or the DIP Lenders

          have any outstanding Commitments (as defined in the DIP Documents) (the “DIP

          Commitments”) under the DIP Documents, the Prepetition Secured Parties shall (i) have

          no right to and shall take no action to foreclose upon, or recover in connection with, the

          liens granted thereto pursuant to the Prepetition Secured Debt Documents, the Interim

          Order, or this Final Order, or otherwise seek to exercise or enforce any rights or remedies

          against such DIP Collateral, including in connection with the Adequate Protection Liens,

          (ii) be deemed to have consented to any transfer, disposition, or sale of, or release of liens

          on, such DIP Collateral (but not any proceeds of such transfer, disposition, or sale to the

          extent remaining after payment in cash in full of the DIP Obligations and termination of

          the DIP Commitments), to the extent such transfer, disposition, sale, or release is

          authorized under the DIP Documents, and (iii) not file any further financing statements,

          trademark filings, copyright filings, mortgages, notices of lien or similar instruments, or

          otherwise take any action to perfect their security interests in such DIP Collateral unless,



                                                   32
#91937572v14
               Case 19-10702-MFW            Doc 200       Filed 05/07/19     Page 33 of 61



          solely as to this clause (iii), the DIP Agent or the DIP Lenders file financing statements

          or other documents to perfect the liens granted pursuant to the Interim Order or this Final

          Order, or as may be required by applicable state law to continue the perfection of valid

          and non-avoidable liens or security interests as of the Petition Date.

                  (b)     To the extent any Prepetition Secured Party has possession of any

          Prepetition Collateral or DIP Collateral, or has control with respect to any Prepetition

          Collateral or DIP Collateral that is subject to a DIP Lien, then such Prepetition Secured

          Party shall be deemed to maintain such possession or exercise such control as gratuitous

          bailee and/or gratuitous agent for perfection for the benefit of the DIP Secured Parties

          and shall comply with the instructions of the DIP Agent (acting upon the express prior

          written direction of the Required Lenders (as defined in the DIP Credit Agreement)) with

          respect to the exercise of such control.

                  (c)     Any proceeds of Prepetition Collateral subject to the Primed Liens

          received by any Prepetition Secured Parties, whether in connection with the exercise of

          any right or remedy (including setoff) relating to the Prepetition Collateral or otherwise

          received by either of the Prepetition Agents, shall be segregated and held in trust for the

          benefit of and forthwith paid over to the DIP Agent for the benefit of the DIP Secured

          Parties in the same form as received, with any necessary endorsements; provided that, as

          part of any sale of all or substantially all of the Prepetition Collateral (i) located in a

          Local Texas Tax Authority’s jurisdiction and (ii) subject to the Primed Liens and the

          liens of such Local Texas Tax Authority, the Debtors shall deposit into a segregated

          account held by the Debtors as adequate protection for the secured claims of the Local

          Texas Tax Authorities an amount either (i) agreed to by the DIP Secured Parties, the



                                                     33
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19    Page 34 of 61



          Local Texas Tax Authorities, and the Debtors or (ii) as otherwise determined by the

          Court. The DIP Liens, the Prepetition Liens, and any valid, senior, perfected, and

          unavoidable liens (if any) of the Local Texas Tax Authorities shall attach to these

          segregated proceeds to the same extent and with the same priority as such liens are now

          held against the property of the Debtors. These segregated funds shall neither constitute

          the allowance of the claims of the Local Texas Tax Authorities nor a cap on the amounts

          that they may be entitled to receive. Furthermore, the claims and liens of the Local Texas

          Tax Authorities shall remain subject to any objections any party would otherwise be

          entitled to raise as to the priority, validity, or extent of such liens. These segregated

          funds may be distributed upon agreement between the Local Texas Tax Authorities, the

          DIP Secured Parties, and the Debtors or by subsequent order of the Court (duly noticed to

          the Local Texas Tax Authorities). Notwithstanding the foregoing, the rights of setoff and

          first priority security interests of the financial institutions providing cash management

          services (solely to the extent related to cash management obligations and as governed by

          the cash management order entered in these Chapter 11 Cases) are preserved.

                 (d)     The automatic stay provisions of section 362 of the Bankruptcy Code are

          hereby modified to the extent necessary to permit the DIP Secured Parties to enforce all

          of their rights under the DIP Documents and (i) immediately upon the occurrence of an

          Event of Default, to declare (A) the termination, reduction, or restriction of any further

          DIP Commitment to the extent any such DIP Commitment remains and (B) all applicable

          DIP Obligations to be immediately due and payable, without presentment, demand,

          protest, or other notice of any kind, all of which are expressly waived by the Loan

          Parties, and (ii) unless the Court orders otherwise during the Remedies Notice Period,



                                                    34
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19     Page 35 of 61



          upon the occurrence of an Event of Default and the giving by the DIP Agent of five

          business days’ prior written notice (which shall run concurrently with any notice required

          to be provided under the DIP Documents) (the “Remedies Notice Period”) delivered by

          email to the Debtors’ lead restructuring counsel (with a copy to the Committee, if any,

          and the U.S. Trustee), (A) to withdraw consent to the Loan Parties’ continued use of any

          Cash Collateral or (B) to exercise all other rights and remedies provided for in the DIP

          Documents and under applicable law; provided that, during the Remedies Notice Period,

          the Loan Parties shall be permitted to continue to use Cash Collateral in the ordinary

          course of business (subject to the Approved Budget and any permitted variance) and may

          request an expedited hearing before the Court to determine whether an Event of Default

          has occurred and is continuing and/or seek nonconsensual use of Cash Collateral. In no

          event shall (i) the DIP Secured Parties or the Prepetition Secured Parties be subject to the

          equitable doctrine of “marshaling” or any similar doctrine with respect to the DIP

          Collateral or (ii) the “equities of the case” exception in section 552(b) of the Bankruptcy

          Code apply with respect to the secured claims of the Prepetition Secured Parties or the

          Prepetition Liens.

                 (e)     No rights, protections, or remedies of the DIP Secured Parties granted by

          the provisions of the Interim Order, this Final Order, or the DIP Documents shall be

          limited, modified, or impaired in any way by (i) any actual or purported withdrawal of

          the consent of any party to the Loan Parties’ authority to continue to use Cash Collateral,

          (ii) any actual or purported termination of the Loan Parties’ authority to continue to use

          Cash Collateral, or (iii) the terms of any other order or stipulation related to the Loan




                                                   35
#91937572v14
                Case 19-10702-MFW         Doc 200      Filed 05/07/19   Page 36 of 61



          Parties’ continued use of Cash Collateral or the provision of adequate protection to any

          party.

          11.      Limitation on Charging Expenses Against Collateral. Upon entry of this Final

Order, except to the extent of the Carve-Out, no costs or expenses of administration of the

Chapter 11 Cases or any future proceeding that may result therefrom, including liquidation in

bankruptcy or other proceedings under the Bankruptcy Code, shall be charged against or

recovered from the DIP Collateral (including Cash Collateral) or the Prepetition Collateral

pursuant to section 506(c) of the Bankruptcy Code or any similar principle of law, without the

prior written consent of the DIP Agent (acting upon the express prior written direction of the

Required Lenders (as defined in the DIP Credit Agreement)) or the applicable Prepetition Agent

(acting upon the express prior written direction of the Required Lenders (as defined in the

Prepetition Revolving Credit Agreement or the Prepetition Term Loan Credit Agreement, as

applicable)), as the case may be, and no such consent shall be implied from any other action,

inaction, or acquiescence by the DIP Secured Parties or the Prepetition Secured Parties, and

nothing contained in the Interim Order or this Final Order shall be deemed to be a consent by the

DIP Secured Parties or the Prepetition Secured Parties to any charge, lien, assessment, or claim

against the DIP Collateral under section 506(c) of the Bankruptcy Code or otherwise.

          12.      Payments Free and Clear. Subject to the Carve-Out, any and all payments or

proceeds remitted to the DIP Agent on behalf of the DIP Secured Parties pursuant to the

provisions of the Interim Order, this Final Order, or the DIP Documents shall be received free

and clear of any claim, charge, assessment, or other liability, including, without limitation, any

such claim or charge arising out of or based on, directly or indirectly, section 506(c) of the




                                                  36
#91937572v14
                Case 19-10702-MFW         Doc 200      Filed 05/07/19    Page 37 of 61



Bankruptcy Code (whether asserted or assessed by, through, or on behalf of the Debtors) or

section 552(b) of the Bankruptcy Code.

          13.    Use of Cash Collateral. The Debtors are hereby authorized, subject to the

Approved Budget (including any permitted variances) and the terms and conditions of this Final

Order, to use all Cash Collateral.

          14.    Adequate Protection of Prepetition Secured Parties. The Prepetition Secured

Parties are entitled, pursuant to sections 361, 362, 363(e), 364(d)(1), and 507 of the Bankruptcy

Code, to adequate protection of their respective interests in the Prepetition Collateral, for and

equal in amount to the aggregate diminution in the value of the Prepetition Secured Parties’

prepetition security interests in the Prepetition Collateral from and after the Petition Date, if any,

for any reason provided for under the Bankruptcy Code, including, but not limited to, the

Debtors’ use, sale, or lease of Cash Collateral and other Prepetition Collateral, the imposition of

the automatic stay, and/or the Carve-Out (the “Adequate Protection Claims”); provided that the

avoidance of any Prepetition Secured Party’s interests in Prepetition Collateral shall not

constitute diminution in the value of such Prepetition Secured Party’s interests in Prepetition

Collateral. In consideration of the foregoing, the Prepetition Secured Parties are hereby granted

the following (collectively, the “Adequate Protection Obligations”):

                 (a)     Adequate Protection Liens. Each of the Prepetition Revolving Agent (for

          itself and for the benefit of the Prepetition Revolving Lenders) and the Prepetition Term

          Agent (for itself and for the benefit of the Prepetition Term Lenders) is hereby granted

          (effective and perfected upon the Petition Date and without the necessity of the execution

          of any mortgages, security agreements, pledge agreements, financing statements, or other

          agreements), in the amount of its respective Adequate Protection Claim, a valid,



                                                  37
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19   Page 38 of 61



          perfected replacement security interest in and lien upon (the “Adequate Protection

          Liens”) the DIP Collateral (including, without limitation, the Avoidance Proceeds),

          which Adequate Protection Liens shall secure the respective Adequate Protection Claims,

          and in each case shall be (i) pari passu with each other Adequate Protection Lien granted

          hereunder, subject to the Intercreditor Agreement, and (ii) subject and subordinate only to

          the Carve-Out, the DIP Liens, and the Permitted Senior Liens; provided that the DIP

          Roll-Up Loans shall be pari passu with the Prepetition Revolving Debt in all respects

          such that distributions on the Prepetition Revolving Debt are pro rata with the sum of the

          DIP Roll-Up Loans and the Prepetition Term Loans; provided further that any proceeds

          allocated on account of the DIP Roll-Up Loans and the Prepetition Term Loans

          (including in respect of the Adequate Protection Obligations) shall be applied first to the

          repayment of the DIP Roll-Up Loans before any Prepetition Term Loan.

                 (b)     507(b) Claims. Each of the Prepetition Agents (on behalf of the

          applicable Prepetition Secured Parties) are granted, as of the Petition Date, an allowed

          superpriority administrative expense claim as provided for in section 507(b) of the

          Bankruptcy Code in the amount of their respective Adequate Protection Claims with,

          except as set forth in the Interim Order or this Final Order, priority in payment over any

          and all administrative expenses of the kind specified or ordered pursuant to any provision

          of the Bankruptcy Code (the “507(b) Claims”), which 507(b) Claims (subject to DIP

          Liens and DIP Superpriority Claims) shall have recourse to and be payable from all of the

          DIP Collateral (including, without limitation, the Avoidance Proceeds). The 507(b)

          Claims shall be (i) pari passu with each other 507(b) Claim granted hereunder, subject to

          the Intercreditor Agreement, and (ii) subject and subordinate only to the Carve-Out, the



                                                   38
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19    Page 39 of 61



          DIP Superpriority Claims, the DIP Liens, and the Permitted Senior Liens. Except to the

          extent expressly set forth in the Interim Order, this Final Order, or the DIP Credit

          Agreement, the Prepetition Secured Parties shall not receive or retain any payments,

          property, or other amounts in respect of the 507(b) Claims unless and until the DIP

          Obligations (other than contingent indemnification obligations as to which no claim has

          been asserted) and the DIP Superpriority Claims have indefeasibly been paid in cash in

          full and all DIP Commitments have been terminated.

                 (c)     Adequate Protection Cash Payments. In each case subject to reallocation

          or recharacterization as payment of principal under section 506(a) and (b) of the

          Bankruptcy Code as may be ordered by the Court in connection with a timely and

          successful Challenge pursuant to paragraph 19 or 20 below, until the indefeasible

          discharge of the Prepetition Secured Debt, the Prepetition Agents, for the benefit of the

          applicable Prepetition Secured Parties, shall receive current payment in cash on the last

          business day of each month in an amount equal to the sum of all post-petition unpaid

          interest accruing on all outstanding principal, interest, fees, and other amounts owing

          under the applicable Prepetition Secured Debt (as of the Petition Date), in each case at the

          applicable default rate (the payments in this subparagraph (c), the “Adequate Protection

          Payments”). For the avoidance of doubt, participation fees accrued under the Prepetition

          Revolving Facility Documents with respect to the Prepetition Letters of Credit

          outstanding as of the Petition Date and unpaid as of the Petition Date shall (i) be due and

          owing by the Debtors and (ii) be paid by the Debtors in accordance with the Prepetition

          Revolving Facility Documents in the ordinary course of business from cash of the

          Debtors other than the cash collateral in the Cash Collateral Accounts.



                                                   39
#91937572v14
               Case 19-10702-MFW          Doc 200       Filed 05/07/19     Page 40 of 61



                 (d)     Prepetition Secured Parties Fees and Expenses. The Loan Parties shall

          make current cash payments of the reasonable and documented prepetition and post-

          petition fees and expenses incurred by the Prepetition Agents or the Ad Hoc Group in

          connection with the Chapter 11 Cases (limited, in the case of the advisors to the

          Prepetition Term Lenders that are members of the Ad Hoc Group, to Houlihan Lokey,

          Inc., Willkie Farr & Gallagher LLP, Young Conaway Stargatt & Taylor, LLP, and one

          local counsel in each material jurisdiction; in the case of the advisors to the Prepetition

          Revolving Agent and the Prepetition Revolving Lenders, to RPA Advisors, LLC, Vinson

          & Elkins LLP, and one local counsel in each material jurisdiction; and, in the case of the

          advisors to the Prepetition Term Agent, to Arnold & Porter Kaye Scholer LLP and one

          local counsel in each relevant jurisdiction), promptly upon receipt of invoices therefor,

          which payments (to the extent for fees, expenses, and disbursements incurred after the

          Petition Date) shall be made within ten days (which time period may be extended by the

          applicable professional) after the receipt by the Debtors, the Committee, if any, and the

          U.S. Trustee (the “Review Period”) of invoices therefor (the “Invoiced Fees”) and

          without the necessity of filing formal fee applications, including such amounts arising

          before or after the Petition Date. The invoices for such Invoiced Fees shall include the

          number of hours billed (except for financial advisors compensated on other than an

          hourly basis) and a summary description of services provided and the aggregate expenses

          incurred by the applicable professional firm; provided, however, that any such invoice

          (i) may be limited and/or redacted to protect privileged, confidential, or proprietary

          information and (ii) shall not be required to contain individual time detail (provided that

          such invoice shall contain (except for financial advisors compensated on other than an



                                                   40
#91937572v14
                Case 19-10702-MFW          Doc 200     Filed 05/07/19    Page 41 of 61



          hourly basis) summary data regarding hours worked by each timekeeper for the

          applicable professional and such timekeepers’ hourly rates). The Debtors, the

          Committee, if any, and the U.S. Trustee may object to any portion of the Invoiced Fees

          (the “Disputed Invoiced Fees”) within the Review Period by filing with the Court a

          motion or other pleading, on at least ten days’ prior written notice (but no more than 30

          days’ notice) of any hearing on such motion or other pleading, setting forth the specific

          objections to the Disputed Invoiced Fees in reasonable narrative detail and the bases for

          such objections; provided that payment of any undisputed portion of Invoiced Fees shall

          not be delayed based on any objections thereto.

                 (e)     Financial Reporting. The Debtors shall provide the Prepetition Agents

          with financial and other reporting substantially in compliance with the reports and notices

          provided for in the DIP Documents, in each case when and as required under the DIP

          Documents.

                 (f)     DIP Roll-Up Facility. The Debtors shall use the DIP Roll-Up Loans to

          refinance and discharge dollar-for-dollar Prepetition Term Loans held by the DIP

          Lenders in the aggregate amount equal to the DIP Term Loans and the DIP LC Loans

          funded under the DIP Facility.

          15.    Reservation of Rights of Prepetition Secured Parties. Under the circumstances

and given that the above-described adequate protection is consistent with the Bankruptcy Code,

including section 506(b) thereof, the Court finds that the adequate protection provided in the

Interim Order and herein is reasonable and sufficient to protect the interests of the Prepetition

Secured Parties; provided that any of the Prepetition Secured Parties may request further or

different adequate protection, and the Debtors or any other party may contest any such request.



                                                  41
#91937572v14
                Case 19-10702-MFW          Doc 200       Filed 05/07/19    Page 42 of 61



          16.     Perfection of DIP Liens and Adequate Protection Liens.

                  (a)     The DIP Agent, the DIP Lenders, and the Prepetition Secured Parties are

          hereby authorized, but not required, to file or record (and to execute in the name of the

          Loan Parties, as their true and lawful attorneys, with full power of substitution, to the

          maximum extent permitted by law) financing statements, trademark filings, copyright

          filings, mortgages, notices of lien, or similar instruments in any jurisdiction, or take

          possession of or control over cash or securities, or take any other action in order to

          validate and perfect the liens and security interests granted to them hereunder. Whether

          or not the DIP Agent, on behalf of the DIP Secured Parties, or the Prepetition Secured

          Parties shall, in their sole discretion, choose to file such financing statements, trademark

          filings, copyright filings, mortgages, notices of lien, or similar instruments, or take

          possession of or control over any cash or securities, or otherwise confirm perfection of

          the liens and security interests granted to them hereunder, such liens and security interests

          shall be deemed valid, perfected, allowed, enforceable, non-avoidable, and not subject to

          challenge, dispute, or subordination, from April 2, 2019. Upon the request of the DIP

          Agent (acting upon the express prior written direction of the Required Lenders (as

          defined in the DIP Credit Agreement)), each of the Prepetition Secured Parties and the

          Loan Parties, without any further consent of any party, is authorized (in the case of the

          Loan Parties) and directed (in the case of the Prepetition Secured Parties) to take,

          execute, deliver, and file such instruments (in each case, without representation or

          warranty of any kind) to enable the DIP Agent to further validate, perfect, preserve, and

          enforce the DIP Liens. All such documents shall be deemed to have been recorded and

          filed as of the Petition Date.



                                                    42
#91937572v14
                Case 19-10702-MFW          Doc 200       Filed 05/07/19    Page 43 of 61



                 (b)     The Interim Order and this Final Order shall be sufficient and conclusive

          evidence of the validity, perfection, and priority of all liens granted in such orders,

          including the DIP Liens and the Adequate Protection Liens, without the necessity of

          filing or recording financing statements, intellectual property filings, mortgages, notices

          of lien, or similar instruments in any jurisdiction, taking possession of or control over

          cash, deposit accounts, securities, or other assets, or the taking of any other action

          (including, for the avoidance of doubt, entering into any deposit account control

          agreement, customs broker agreement, or freight forwarding agreement) to validate or

          perfect (in accordance with applicable non-bankruptcy law) the DIP Liens and the

          Adequate Protection Liens, or to entitle the DIP Secured Parties to the priorities granted

          herein. Notwithstanding the foregoing, certified copies of the Interim Order and this

          Final Order may, in the discretion of the DIP Agent, be filed with or recorded in filing or

          recording offices in addition to or in lieu of such financing statements, mortgages, notices

          of lien, or similar instruments, and all filing offices are hereby authorized and directed to

          accept such certified copies of the Interim Order and this Final Order for filing and/or

          recording, as applicable. The automatic stay of section 362(a) of the Bankruptcy Code

          shall be modified to the extent necessary to permit the DIP Agent to take all actions, as

          applicable, referenced in this subparagraph (b) and the immediately preceding

          subparagraph (a).

          17.    Milestones. It is a condition to the DIP Facilities that the Debtors shall comply

with the Case Milestones (as defined in the DIP Credit Agreement). Any Case Milestone that

would otherwise fall on a Saturday, Sunday, or federal holiday will be treated in accordance with




                                                    43
#91937572v14
                Case 19-10702-MFW          Doc 200       Filed 05/07/19    Page 44 of 61



Bankruptcy Rule 9006. The failure to comply with any Milestone shall constitute an Event of

Default in accordance with the terms of the DIP Credit Agreement.

          18.    Preservation of Rights Granted Under the Interim Order and this Final Order.

                 (a)     Other than the Carve-Out, Permitted Senior Liens, and other claims and

          liens expressly granted by the Interim Order and this Final Order, no claim or lien having

          a priority superior to or that is pari passu with those granted by the Interim Order or this

          Final Order to the DIP Secured Parties or the Prepetition Secured Parties, respectively,

          shall be permitted while any of the DIP Obligations or the Adequate Protection

          Obligations remain outstanding, and, except as otherwise expressly provided in the

          Interim Order or this Final Order, the DIP Liens and the Adequate Protection Liens shall

          not be (i) subject or junior to any lien or security interest that is avoided and preserved for

          the benefit of the Loan Parties’ estates under section 551 of the Bankruptcy Code,

          (ii) subordinated to or made pari passu with any other lien or security interest, whether

          under section 364(d) of the Bankruptcy Code or otherwise, (iii) subordinated to or made

          pari passu with any liens arising after the Petition Date, including, without limitation, any

          liens or security interests granted in favor of any federal, state, municipal, or other

          domestic or foreign governmental unit (including any regulatory body), commission,

          board, or court for any liability of the Loan Parties, or (iv) subject or junior to any

          intercompany or affiliate liens or security interests of the Loan Parties.

                 (b)     Notwithstanding any order that may be entered dismissing any of the

          Chapter 11 Cases under section 1112 of the Bankruptcy Code or that otherwise is at any

          time entered, (i) the DIP Superpriority Claims, the 507(b) Claims, the DIP Liens, and the

          Adequate Protection Liens shall continue in full force and effect and shall maintain their



                                                    44
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19     Page 45 of 61



          priorities as provided in the Interim Order or this Final Order until all DIP Obligations

          and Adequate Protection Obligations shall have been indefeasibly paid in full in cash

          (and that such DIP Superpriority Claims, 507(b) Claims, DIP Liens, and Adequate

          Protection Liens shall, notwithstanding such dismissal, remain binding on all parties in

          interest), (ii) the other rights granted by the Interim Order or this Final Order shall not be

          affected, and (iii) the Court shall retain jurisdiction, notwithstanding such dismissal, for

          the purposes of enforcing the claims, liens, and security interests referred to in this

          paragraph 18 and otherwise in the Interim Order or this Final Order.

                  (c)     If any or all of the provisions of the Interim Order (except such provisions

          of the Interim Order modified by this Final Order) or this Final Order are hereafter

          reversed, modified, vacated, or stayed, such reversal, modification, vacatur, or stay shall

          not affect (i) the validity, priority, or enforceability of any DIP Obligations or Adequate

          Protection Obligations incurred prior to the actual receipt of written notice by the DIP

          Agent, the Prepetition Revolving Agent, or the Prepetition Term Agent, as applicable, of

          the effective date of such reversal, modification, vacatur, or stay or (ii) the validity,

          priority, or enforceability of the DIP Liens or the Adequate Protection Liens.

          Notwithstanding any such reversal, modification, vacatur, or stay of any use of Cash

          Collateral, any DIP Obligations or any Adequate Protection Obligations incurred by the

          Loan Parties to the DIP Secured Parties or the Prepetition Secured Parties, as the case

          may be, prior to the actual receipt of written notice by the DIP Agent, the Prepetition

          Revolving Agent, or the Prepetition Term Agent, as applicable, of the effective date of

          such reversal, modification, vacatur, or stay shall be governed in all respects by the

          original provisions of the Interim Order or this Final Order, and the DIP Secured Parties



                                                    45
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19    Page 46 of 61



          and the Prepetition Secured Parties shall be entitled to all the rights, remedies, privileges,

          and benefits granted in section 364(e) of the Bankruptcy Code, the Interim Order, this

          Final Order, and the DIP Documents.

                 (d)     Except as expressly provided in the Interim Order, this Final Order, or in

          the DIP Documents, (i) the DIP Obligations, the DIP Liens, the DIP Superpriority

          Claims, the 507(b) Claims, the Adequate Protection Liens, and the Adequate Protection

          Obligations, and all other rights and remedies of the DIP Agent, the DIP Lenders, and the

          Prepetition Secured Parties granted by the provisions of the Interim Order, this Final

          Order, and the DIP Documents shall survive, and shall not be modified, impaired, or

          discharged by the entry of an order (A) converting any of the Chapter 11 Cases to a case

          under chapter 7 of the Bankruptcy Code, dismissing any of the Chapter 11 Cases,

          terminating the joint administration of the Chapter 11 Cases, or by any other act or

          omission, (B) approving the sale of any DIP Collateral pursuant to section 363(b) of the

          Bankruptcy Code (except to the extent permitted by the DIP Documents), or

          (C) confirming a chapter 11 plan in any of the Chapter 11 Cases, and (ii) pursuant to

          section 1141(d)(4) of the Bankruptcy Code, the Loan Parties have waived any discharge

          as to any remaining DIP Obligations or Adequate Protection Obligations. The terms and

          provisions of the Interim Order, this Final Order, and the DIP Documents shall continue

          in the Chapter 11 Cases, in any successor cases if the Chapter 11 Cases cease to be jointly

          administered, and in any superseding chapter 7 cases under the Bankruptcy Code, and the

          DIP Obligations, the DIP Liens, the DIP Superpriority Claims, the 507(b) Claims, the

          Adequate Protection Liens, the Adequate Protection Obligations, and all other rights and

          remedies of the DIP Secured Parties and the Prepetition Secured Parties granted by the



                                                    46
#91937572v14
                Case 19-10702-MFW          Doc 200        Filed 05/07/19    Page 47 of 61



          provisions of the Interim Order, this Final Order, and the DIP Documents shall continue

          in full force and effect until the DIP Obligations are indefeasibly paid in full in cash, as

          set forth herein and in the DIP Documents, and the Commitments have been terminated.

          19.     Effect of Stipulations on Third Parties.

                  (a)     The Debtors’ stipulations, admissions, agreements, and releases contained

          in the Interim Order and this Final Order shall be binding upon (i) the Debtors and their

          estates, in all circumstances and for all purposes and (ii) all other parties in interest,

          including, without limitation, any statutory or non-statutory committees appointed or

          formed in the Chapter 11 Cases and any other person or entity acting or seeking to act on

          behalf of the Debtors’ estates, including any chapter 7 or chapter 11 trustee or examiner

          appointed or elected for any of the Debtors, in all circumstances and for all purposes

          unless (A) such committee or any other party in interest (subject in all respects to any

          agreement or applicable law that may limit or affect such entity’s right or ability to do

          so), in each case, with standing granted by the Court, has timely filed an adversary

          proceeding or contested matter (subject to the limitations contained herein, including,

          inter alia, in this paragraph 19) (1) objecting to or challenging the amount, validity,

          perfection, enforceability, priority, or extent of the Prepetition Secured Debt or the

          Prepetition Liens or (2) otherwise asserting or prosecuting any action for preferences,

          fraudulent transfers or conveyances, other avoidance power claims, or any other claims,

          counterclaims or causes of action, objections, contests, or defenses (collectively,

          a “Challenge”) against the Prepetition Secured Parties or their respective subsidiaries,

          affiliates, officers, directors, managers, principals, employees, agents, financial advisors,

          attorneys, accountants, investment bankers, consultants, representatives, and other



                                                     47
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19    Page 48 of 61



          professionals and their respective successors and assigns thereof, in each case in their

          respective capacity as such (each, a “Representative” and, collectively,

          the “Representatives”) in connection with matters related to any claims of the Debtors

          against the Prepetition Secured Parties, the Prepetition Secured Debt Documents, the

          Prepetition Secured Debt, the Prepetition Liens, the Prepetition Collateral, or otherwise,

          provided that all pleadings filed in connection with a Challenge shall set forth the basis

          for such challenge or claim, (B) such Challenge has been filed prior to the latest of

          (1) (Y) with respect to parties in interest with standing (other than a Committee), June 17,

          2019 and (Z) with respect to a Committee, if any, 60 calendar days after the appointment

          of the Committee, (2) any such later date as has been agreed to, in writing, by the

          Prepetition Revolving Agent or the Prepetition Term Agent (acting upon the express prior

          written direction of the Required Lenders (as defined in the DIP Credit Agreement)) (as

          applicable), and (3) any such later date as has been ordered by the Court for cause upon a

          motion filed and served within any applicable time period set forth in this paragraph 19

          (the time period established by the foregoing clauses (1) through (3), the “Challenge

          Period”) (for the avoidance of doubt, if a Committee is appointed after June 17, 2019, the

          Challenge Period shall have expired), and (C) there is a final non-appealable order

          sustaining such Challenge in favor of the plaintiff in such timely filed adversary

          proceeding or contested matter. Any Challenge not so specified prior to the expiration of

          the Challenge Period shall be deemed forever, waived, released, and barred.

                 (b)     If no such Challenge is filed during the Challenge Period or the Court does

          not rule in favor of the plaintiff in any such proceeding, then (i) the Debtors’ stipulations,

          admissions, agreements, and releases contained in the Interim Order and this Final Order



                                                    48
#91937572v14
               Case 19-10702-MFW           Doc 200       Filed 05/07/19     Page 49 of 61



          shall be binding on all parties in interest, including, without limitation, a Committee, if

          any, (ii) the obligations of the Loan Parties under the Prepetition Secured Debt

          Documents, including the Prepetition Secured Debt, shall constitute allowed claims not

          subject to defense, claim, counterclaim, recharacterization, subordination, offset, or

          avoidance, for all purposes in the Chapter 11 Cases, and any subsequent chapter 7

          case(s), (iii) the Prepetition Liens shall be deemed to have been, as of the Petition Date,

          legal, valid, binding, perfected, security interests and liens, not subject to

          recharacterization, subordination, avoidance, or other defense, (iv) the Prepetition

          Secured Debt and the Prepetition Liens shall not be subject to any other or further claim

          or challenge by any statutory or non-statutory committees appointed or formed in the

          Chapter 11 Cases or any other party in interest acting or seeking to act on behalf of the

          Debtors’ estates, and (v) any defenses, claims, causes of action, counterclaims, and

          offsets by any statutory or non-statutory committees appointed or formed in the Chapter

          11 Cases, or any other party acting or seeking to act on behalf of the Debtors’ estates,

          whether arising under the Bankruptcy Code or otherwise, against any of the Prepetition

          Secured Parties and their Representatives arising out of or relating to the any claims of

          the Debtors against the Prepetition Secured Parties, the Prepetition Secured Debt

          Documents, or otherwise shall be deemed forever waived, released, and barred. If any

          such Challenge is filed during the Challenge Period, the stipulations, admissions,

          agreements, and releases contained in the Interim Order and this Final Order shall

          nonetheless remain binding and preclusive (as provided in this subparagraph (b)) on any

          statutory or non-statutory committee appointed or formed in the Chapter 11 Cases, and on

          any other person or entity, except to the extent that such stipulations, admissions,



                                                    49
#91937572v14
                Case 19-10702-MFW          Doc 200     Filed 05/07/19    Page 50 of 61



          agreements, and releases were expressly and successfully challenged in such Challenge

          as set forth in a final, non-appealable order of a court of competent jurisdiction. Nothing

          in the Interim Order or this Final Order vests or confers on any Person (as defined in the

          Bankruptcy Code), including any statutory or non-statutory committees appointed or

          formed in the Chapter 11 Cases, standing or authority to pursue any claim or cause of

          action belonging to the Debtors or their estates, including, without limitation, Challenges

          with respect to the Prepetition Secured Debt Documents, the Prepetition Secured Debt, or

          the Prepetition Liens, or claims, counterclaims, or causes of action of the Debtors against

          any Prepetition Secured Party.

          20.    Limitation on Use of DIP Financing Proceeds and Collateral. Notwithstanding

anything herein, in the Interim Order, or in any other order entered by the Court to the contrary,

no proceeds of the DIP Facilities, DIP Collateral, Prepetition Collateral (including Cash

Collateral), or the Carve-Out may be used (a) for Professional Fees incurred for (i) any litigation

or threatened litigation (whether by contested matter, adversary proceeding, or otherwise,

including any investigation in connection with litigation or threatened litigation) against any of

the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties or for the purpose of

objecting to or challenging the validity, perfection, enforceability, extent, amount or priority of

any claim, lien, or security interest held or asserted by any of the DIP Agent, the DIP Lenders, or

the Prepetition Secured Parties or (ii) asserting any defense, claim, cause of action, counterclaim,

or offset with respect to the DIP Obligations, the Prepetition Secured Debt (including, without

limitation, for lender liability or pursuant to section 105, 510, 544, 547, 548, 549, 550, or 552 of

the Bankruptcy Code, applicable non-bankruptcy law or otherwise), the DIP Liens, or the

Prepetition Liens or against any of the Prepetition Secured Parties or their respective



                                                  50
#91937572v14
               Case 19-10702-MFW        Doc 200       Filed 05/07/19    Page 51 of 61



Representatives, (b) to prevent, hinder, or otherwise delay any of the DIP Agent’s or the

Prepetition Secured Parties’ assertion, enforcement, or realization on the Prepetition Collateral or

the DIP Collateral in accordance with the DIP Documents, the Prepetition Secured Debt

Documents, the Interim Order, or this Final Order other than to seek a determination that an

Event of Default has not occurred or is not continuing, or in connection with a Remedies

Hearing, (c) to seek to modify any of the rights granted to the DIP Agent, the DIP Lenders, or the

Prepetition Secured Parties under the Interim Order, this Final Order, or under the DIP

Documents or the Prepetition Loan Documents, in each of the foregoing cases without such

parties’ prior written consent, which may be given or withheld by such party in the exercise of its

respective sole discretion, or (d) to pay any amount on account of any claims arising prior to the

Petition Date unless such payments are approved by an order of the Court (including, without

limitation, hereunder); provided that, notwithstanding anything to the contrary in the Interim

Order or this Final Order, the Committee, if any, may use the proceeds of the DIP Facilities, DIP

Collateral (including Cash Collateral), and/or the Carve-Out to investigate (but not prosecute or

initiate the prosecution of, including the preparation of any complaint or motion on account of)

prior to (but not after) the delivery of a Carve-Out Trigger Notice, (i) the claims and liens of the

Prepetition Secured Parties and (ii) potential claims, counterclaims, causes of action, or defenses

against the Prepetition Secured Parties; provided further that no more than an aggregate of

$50,000 of the proceeds of the DIP Facilities, DIP Collateral (including Cash Collateral, but

excluding all Cash Collateral in the Cash Collateral Account that secures the DIP Letters of

Credit), and/or the Carve-Out may be used by the Committee, if any, in respect of the

investigations set forth in the preceding proviso (the “Investigation Budget”).




                                                 51
#91937572v14
                Case 19-10702-MFW        Doc 200       Filed 05/07/19     Page 52 of 61



          21.    Release. Subject to paragraph 19 hereof, and as further set forth in the DIP

Documents, the Debtors, on behalf of themselves and their estates (including any successor

trustee or other estate representative in the Chapter 11 Cases or any case under chapter 7 of the

Bankruptcy Code upon the conversion of any of the Cases) and any party acting by, through, or

under any of the Debtors or any of their estates, hereby stipulate and agree that they forever and

irrevocably (a) release, discharge, waive, and acquit the current or future DIP Agent and other

current or future DIP Secured Parties, the Prepetition Revolving Secured Parties, and the

Prepetition Term Secured Parties, and each of their respective participants and each of their

respective affiliates, and each of their respective former, current, or future officers, employees,

directors, agents, representatives, owners, members, partners, financial advisors, legal advisors,

shareholders, managers, consultants, accountants, attorneys, affiliates, successors, assigns, and

predecessors in interest (collectively, “Released Parties”), from any and all claims, demands,

liabilities, responsibilities, disputes, remedies, causes of action, indebtedness, obligations, rights,

assertions, allegations, actions, suits, controversies, proceedings, losses, damages, injuries,

attorneys’ fees, costs, expenses, or judgments of every type, whether known, unknown, asserted,

unasserted, suspected, unsuspected, accrued, unaccrued, fixed, contingent, pending, or

threatened, including, without limitation, all legal and equitable theories of recovery, arising

under common law, statute, or regulation or by contract, of every nature and description, arising

out of, in connection with, or relating to the DIP Facilities, the DIP Documents, the Prepetition

Loan Documents, or the transactions and relationships contemplated hereunder or thereunder,

including, without limitation, (i) any so-called “lender liability” or equitable subordination

claims or defenses, (ii) any and all claims and causes of action arising under the Bankruptcy

Code (including, without limitation, Avoidance Actions), and (iii) any and all claims and causes



                                                  52
#91937572v14
                Case 19-10702-MFW        Doc 200       Filed 05/07/19    Page 53 of 61



of action regarding the validity, priority, perfection, or avoidability of the liens or secured claims

of the DIP Agent, the other DIP Secured Parties, the Prepetition Revolving Secured Parties, and

the Prepetition Term Secured Parties, and (b) waive any and all defenses (including, without

limitation, offsets, and counterclaims of any nature or kind) as to the validity, perfection,

priority, enforceability, and nonavoidability of the DIP Loans, the DIP Liens, the DIP

Superpriority Claims, the Prepetition Secured Debt, the Prepetition Liens, the Adequate

Protection Claims, the Adequate Protection Liens, and any adequate protection payment

obligations pursuant to the Interim Order or this Final Order. For the avoidance of doubt, the

foregoing release shall not constitute a release of any rights arising under the DIP Documents.

Notwithstanding the releases and covenants contained above in this paragraph, such releases and

covenants in favor of the Released Parties shall be deemed acknowledged and reaffirmed by the

Debtors each time there is an advance of funds, extension of credit, or financial accommodation

under the Interim Order, this Final Order and the DIP Documents.

          22.    Exculpation. Nothing in the Interim Order, this Final Order, the DIP Documents,

or any other documents related to these transactions shall in any way be construed or interpreted

to impose or allow the imposition upon the DIP Agent or any DIP Lender of any liability for any

claims arising from the prepetition or post-petition activities of the Debtors in the operation of

their businesses, or in connection with their restructuring efforts. So long as the DIP Agent and

the DIP Lenders comply with their obligations under the DIP Documents and their obligations, if

any, under applicable law (including the Bankruptcy Code), (a) the DIP Agent and the DIP

Lenders shall not, in any way or manner, be liable or responsible for (i) the safekeeping of the

DIP Collateral or any reserves established pursuant to the Interim Order or this Final Order,

(ii) any loss or damage thereto occurring or arising in any manner or fashion from any cause,



                                                  53
#91937572v14
                Case 19-10702-MFW        Doc 200       Filed 05/07/19     Page 54 of 61



(iii) any diminution in the value thereof, or (iv) any act or default of any carrier, servicer, bailee,

custodian, forwarding agency, or other person and (b) all risk of loss, damage, or destruction of

the DIP Collateral shall be borne by the Loan Parties.

          23.    Final Order Governs. In the event of any inconsistency between the provisions of

this Final Order, the Interim Order, the DIP Documents, or any other order entered by the Court,

the provisions of this Final Order shall govern. Notwithstanding anything to the contrary in any

other order entered by the Court, any payment made, or authorization contained in, any other

order entered by the Court shall be consistent with and subject to the requirements set forth in

this Final Order and the DIP Documents, including, without limitation, the Approved Budget

(including any permitted variances); provided that the Approved Budget (including any

permitted variances) shall not constitute a cap or limitation on any Professional Fees and shall

not affect the Carve-Out.

          24.    Binding Effect; Successors and Assigns. The DIP Documents and the provisions

of the Interim Order and this Final Order, including all findings therein and herein, shall be

binding upon all parties in interest in the Chapter 11 Cases, including, without limitation, the DIP

Agent, the DIP Lenders, the Prepetition Secured Parties, the Committee, if any, any non-

statutory committees appointed or formed in the Chapter 11 Cases, the Debtors, and their

respective successors and assigns (including any chapter 7 or chapter 11 trustee hereinafter

appointed or elected for the estate of any of the Debtors, an examiner appointed pursuant to

section 1104 of the Bankruptcy Code, or any other fiduciary appointed as a legal representative

of any of the Debtors or with respect to the property of the estate of any of the Debtors) and shall

inure to the benefit of the DIP Agent, the DIP Lenders, the Prepetition Secured Parties, the

Debtors, and their respective successors and assigns; provided that the DIP Agent, the DIP



                                                  54
#91937572v14
                Case 19-10702-MFW       Doc 200       Filed 05/07/19    Page 55 of 61



Lenders, and the Prepetition Secured Parties shall have no obligation to permit the use of the DIP

Collateral (including Cash Collateral) or to extend any financing to any chapter 7 trustee, chapter

11 trustee, or similar responsible person appointed for the estates of the Debtors.

          25.    Limitation of Liability. In determining to make any loan or other extension of

credit under the DIP Credit Agreement, to permit the use of Cash Collateral or in exercising any

rights or remedies as and when permitted pursuant to the Interim Order, this Final Order, or the

DIP Documents, the DIP Agent and the DIP Lenders (and the Prepetition Secured Parties in

respect of the use of Cash Collateral) shall not (a) be deemed to be in “control” of the operations

of the Debtors, (b) owe any fiduciary duty to the Debtors, their respective creditors, shareholders,

or estates, or (c) be deemed to be acting as a “Responsible Person,” “Owner,” or “Operator” with

respect to the operation or management of the Debtors, so long as the DIP Agent’s and the DIP

Lenders’ actions do not constitute, within the meaning of 42 U.S.C. § 9601(20)(F), actual

participation in the management or operational affairs of a vessel or facility owned or operated

by a Debtor, or otherwise cause liability to arise to the federal or state government or the status

of “responsible person” or “managing agent” to exist under applicable law (as such terms or

similar terms are used in the United States Comprehensive Environmental Response,

Compensation and Liability Act, 42 U.S.C. §§ 9601, et seq., as amended, or any similar federal

or state statute).

          26.    Inapplicability of Bar Date; Master Proof of Claim. Any order entered by the

Court establishing a bar date for any claims (including, without limitation, administrative claims)

in any of the Chapter 11 Cases or any subsequent chapter 7 case of any of the Debtors shall not

apply to any DIP Secured Party, any Prepetition Term Secured Party, or any Prepetition

Revolving Secured Party. The DIP Secured Parties, Prepetition Secured Parties, and the



                                                 55
#91937572v14
               Case 19-10702-MFW        Doc 200       Filed 05/07/19    Page 56 of 61



Prepetition Revolving Secured Parties shall not be required to file proofs of claim or requests for

approval of administrative expenses authorized by the Interim Order or this Final Order in any of

the Chapter 11 Cases or any subsequent chapter 7 case of any of the Debtors. The provisions of

the Interim Order and this Final Order relating to the amount and/or priority of the DIP Loans,

the Prepetition Term Debt, the Prepetition Revolving Debt, the Adequate Protection Claims, the

Adequate Protection Liens, any adequate protection payments pursuant to the Interim Order or

this Final Order, the Prepetition Liens, the DIP Liens, and the DIP Superpriority Claims shall

constitute a sufficient and timely filed proof of claim and/or administrative expense request in

respect of such obligations and such secured status. However, in order to facilitate the

processing of claims, to ease the burden upon the Court, and to reduce an unnecessary expense to

the Debtors’ estates, each of the Prepetition Revolving Agent and the Prepetition Term Agent is

authorized to file in the Debtors’ lead Chapter 11 Case In re Southcross., et al., Case No. 19-

10702 (MFW), a single, master proof of claim on behalf of the Prepetition Revolving Secured

Parties and the Prepetition Term Secured Parties, as applicable, on account of any and all of their

respective claims arising under the applicable Prepetition Secured Debt Documents and

hereunder (each, a “Master Proof of Claim”) applicable against each of the Debtors. Upon the

filing of a Master Proof of Claim, (a) the Prepetition Revolving Agent and the Prepetition

Revolving Secured Parties and (b) the Prepetition Term Agent and the Prepetition Term Secured

Parties, as applicable, and each of their respective successors and assigns, shall be deemed to

have filed a proof of claim in the amount set forth opposite its name therein in respect of its

claims against each of the Debtors of any type or nature whatsoever with respect to the

applicable Prepetition Secured Debt Documents, and the claim of each Prepetition Secured Party

(and each of its respective successors and assigns), named in a Master Proof of Claim shall be



                                                 56
#91937572v14
                Case 19-10702-MFW       Doc 200       Filed 05/07/19    Page 57 of 61



treated as if such entity had filed a separate proof of claim in each of the Chapter 11 Cases. The

Master Proofs of Claim shall not be required to identify whether any Prepetition Secured Party

acquired its claim from another party and the identity of any such party or to be amended to

reflect a change in the holders of the claims set forth therein or a reallocation among such

holders of the claims asserted therein resulting from the transfer of all or any portion of such

claims. Nothing in the Interim Order or this Final Order shall waive the right of any DIP

Secured Party or any Prepetition Secured Party to file its own proof of claim against any of the

Debtors. The provisions of this paragraph 26 and each Master Proof of Claim are intended

solely for the purpose of administrative convenience and shall not affect the right of each

Prepetition Secured Party (or its successors in interest) to vote separately on any plan proposed

in the Chapter 11 Cases. The Master Proofs of Claim shall not be required to attach any

instruments, agreements, or other documents evidencing the obligations owing by each of the

Debtors to the applicable Prepetition Secured Parties, which instruments, agreements, or other

documents will be provided upon reasonable written request to counsel to the Prepetition

Revolving Agent and Prepetition Term Agent, as applicable.

          27.    Secured Party Consents. No approval, agreement, or consent requested of the DIP

Secured Parties and/or the Prepetition Secured Parties by the Debtors pursuant to the terms of the

Interim Order, this Final Order, or otherwise shall be inferred from any action, inaction, or

acquiescence of the DIP Secured Parties or the Prepetition Secured Parties, as applicable, other

than a writing acceptable to the DIP Secured Parties or the Prepetition Secured Parties, as

applicable, that is signed by such person(s) and expressly shows such approval, agreement, or

consent, without limitation. Nothing in the Interim Order or herein shall in any way affect the

rights of the DIP Secured Parties or the Prepetition Secured Parties as to any non-Debtor entity,



                                                 57
#91937572v14
                Case 19-10702-MFW        Doc 200       Filed 05/07/19   Page 58 of 61



without limitation. Unless expressly required otherwise hereunder, any determination,

agreement, decision, consent, election, approval, acceptance, waiver, designation, authorization,

or other similar circumstance or matter of any of the DIP Secured Parties or the Prepetition

Secured Parties, as applicable, hereunder or related hereto, shall be in the such person(s)’ sole

and absolute discretion.

          28.    Insurance. To the extent that any of the Prepetition Revolving Agent or

Prepetition Term Agent is listed as loss payee or additional insured under any of the Borrower’s

or Guarantors’ insurance policies, the DIP Agent is also deemed to be the loss payee or

additional insured, as applicable, under such insurance policies and shall act in that capacity and

distribute any proceeds recovered or received in respect of any such insurance policies, first, to

the payment in full of the DIP Obligations (other than contingent indemnification obligations as

to which no claim has been asserted), and second, to the payment of the applicable Prepetition

Secured Debt.

          29.    Effectiveness. This Final Order shall constitute findings of fact and conclusions

of law and shall take effect and be fully enforceable nunc pro tunc to the Petition Date

immediately upon entry hereof. Notwithstanding Bankruptcy Rule 4001(a)(3), 6004(h), 7062, or

9014, any Local Rule or Rule 62(a) of the Federal Rules of Civil Procedure, this Final Order

shall be immediately effective and enforceable upon its entry and there shall be no stay of

execution or effectiveness of this Final Order.

          30.    Headings. Section headings used herein are for convenience only and are not to

affect the construction of or to be taken into consideration in interpreting this Final Order.

          31.    Payments Held in Trust for the DIP Agent and DIP Lenders. Except as expressly

permitted in the Interim Order, this Final Order, or the DIP Documents, in the event that any



                                                  58
#91937572v14
                Case 19-10702-MFW        Doc 200      Filed 05/07/19    Page 59 of 61



person or entity receives any payment on account of a security interest in DIP Collateral,

receives any DIP Collateral or any proceeds of DIP Collateral, or receives any other payment

with respect thereto from any other source prior to indefeasible payment in full in cash of all DIP

Obligations under the DIP Documents, and termination of the Commitments in accordance with

the DIP Documents, such person or entity shall be deemed to have received, and shall hold, such

payment or proceeds of DIP Collateral in trust for the benefit of the DIP Agent and the DIP

Lenders and shall immediately turn over such proceeds to the DIP Agent, or as otherwise

instructed by the Court, for application in accordance with the DIP Documents and this Final

Order.

          32.    Credit Bidding. The DIP Secured Parties shall have the right to credit bid, in

accordance with the DIP Documents, up to the full amount of the DIP Obligations other than the

amount of the DIP Roll-Up Loans, in any sale of the DIP Collateral. Subject to paragraph 19

hereof and the Intercreditor Agreement, the DIP Secured Parties shall have the right to credit bid,

in accordance with the DIP Documents, the amount of the DIP Roll-Up Loans in any sale of the

DIP Collateral. Subject to paragraph 19 hereof, each of the Prepetition Secured Parties shall

have the right to credit bid, subject to the Intercreditor Agreement, up to the full amount of the

applicable Prepetition Secured Debt in any sale of the Prepetition Collateral, in each case

pursuant to section 363(k) of the Bankruptcy Code and subject to any successful Challenge,

without the need for further Court order authorizing the same and whether any such sale is

effectuated through section 363(k) or 1129(b) of the Bankruptcy Code, by a chapter 7 trustee

under section 725 of the Bankruptcy Code, or otherwise.

          33.    Wind Down Budget. In the event that the Debtors pursue a “Section 363 Sale” (as

defined in the DIP Credit Agreement) of all or substantially all of the Debtors’ assets, then in



                                                 59
#91937572v14
                Case 19-10702-MFW       Doc 200       Filed 05/07/19    Page 60 of 61



connection with such Section 363 Sale, the Debtors and the Required DIP Lenders will negotiate

in good faith a reasonable wind-down budget (the “Wind-Down Budget”) to pay all allowed (a)

post-petition claims, (b) administrative expense and priority claims, and (c) professional fees and

expenses necessary to wind-down the Debtors’ estates in a reasonable and appropriate timeline.

Notwithstanding anything else to the contrary in the Interim Order or this Final Order, subject

and subordinate to the Carve Out (y) the net proceeds of any Section 363 Sale shall first satisfy

the Wind-Down Budget before repayment of any DIP Obligations, Adequate Protection

Obligations, 507(b) Claims, Prepetition Secured Debt, or any other claims against the Debtors

and (z) any credit bid shall be subject to the Debtors having sufficient cash at the consummation

of the Section 363 Sale to satisfy the Wind-Down Budget. For the avoidance of doubt, the Cash

Collateral Accounts that secure the DIP Letters of Credit shall not be used as part of the Wind

Down Budget or the Carve-Out.

          34.    Bankruptcy Rules. The requirements of Bankruptcy Rules 4001 and 6004, in each

case to the extent applicable, are satisfied by the contents of the Motion.

          35.    Necessary Action. The Debtors are authorized to take all such actions as are

necessary or appropriate to implement the terms of this Final Order.




                                                 60
#91937572v14
                Case 19-10702-MFW        Doc 200       Filed 05/07/19    Page 61 of 61



          36.    Retention of Jurisdiction. The Court shall retain jurisdiction to implement,

interpret, and enforce the provisions of this Final Order, and this retention of jurisdiction shall

survive the confirmation and consummation of any chapter 11 plan for any one or more of the

Debtors notwithstanding the terms or provisions of any such chapter 11 plan or any order

confirming any such chapter 11 plan.

          37.    The Debtors shall promptly serve copies of this Final Order on the parties having

been given notice of the Final Hearing and on any party that has filed a request for notices with

the Court in accordance with Bankruptcy Rule 2002.




          Dated: May 7th, 2019
                                                         MARY F. WALRATH
          Wilmington, Delaware                    61     UNITED STATES BANKRUPTCY JUDGE
#91937572v14
